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           EXHIBIT 11

                  Redacted for PII
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1                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
2                                     ATLANTA DIVISION
3           DONNA CURLING, ET AL.,                  )
                                                    )
4                 Plaintiffs,                       )
                                                    )
5           vs.                                     )      CIVIL ACTION NO.
                                                    )
6           BRAD RAFFENSPERGER, ET                  )      1:17-CV-2989-AT
            AL,                                     )
7                                                   )
                  Defendants.                       )
8
9
10
11
12
13             VIDEOTAPED 30(b)(6) DEPOSITION OF ERIC B. CHANEY
14                                (Taken by Plaintiffs)
15                                    August 15, 2022
16                                         10:20 a.m.
17
18
19
20
21
22
23
24
25            Reported by:         Debra M. Druzisky, CCR-B-1848

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1                     APPEARANCES OF COUNSEL
2      On behalf of the Curling Plaintiffs:
3         DAVID D. CROSS, Esq.
          MARY G. KAISER, Esq.
4         SONJA N. SWANBECK, Esq.
          VERONICA ASCARRUNZ, Esq.
5         JENNA CONAWAY
          CAROLINE MIDDLETON
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1             APPEARANCES OF COUNSEL (Continued.)
2      On behalf of the Defendants Georgia Secretary of
       State and State Election Board:
3
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           Robbins Ross Alloy Belinfante Littlefield
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           Atlanta, Georgia 30318
6          (678) 701-9381
           javier.picoprats@robbinsfirm.com
7
           -and-
8
           BRYAN TYSON, Esq.
9          Taylor English Duma
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10         Atlanta, Georgia 30339
           (770) 434-6868
11         btyson@taylorenglish.com
12
       Also Present:
13
           Scott Bridwell, videographer
14         Donna Curling
           Susan Greenhalgh
15         Marilyn R. Marks
           Kevin Scoglund
16         Duncan Buell
           Philip Stark
17         Ernestine Thomas-Clark (Coffee B.O.E.)
18                           --oOo--
19
20
21
22
23
24
25

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 3     ERIC B. CHANEY
 4        By Mr. Cross                                                        8
 5        By Mr. Brown                                                      179
 6        By Mr. Pico-Prats                                                 185
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10                   INDEX TO PLAINTIFF'S EXHIBITS
11       No.                   Description                                  Page
12    Exhibit 1        6-30-22, Subpoena to Produce                          21
                       Documents, Information or
13                     Objects or to Permit Inspection
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14                     Eric B. Chaney re: The
                       above-captioned action.
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16                      Documents, Information or
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18                      above-captioned action.
19    Exhibit 3         8-14-22, Chaney Response to CGG                      24
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20                      Documents re: Curling v. Kemp.
21    Exhibit 4         State Defendants 202100 thru                         34
                        103, 9-28-21, State of Georgia
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23                      re: Coffee County.
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5     Exhibit 7    10-6-20 thru 5-3-22, Coffee        44
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6                  Registration Regular Monthly
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8                       Jennifer Dorminey Herzog to Ryan
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11                      message string between Eric
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16                      Vulnerabilities affecting
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17                      ImageCast X.
18    Exhibit 12        LinkedIn Web page print-out re:                     171
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20                      Emergency Injunctive and
                        Declaratory Relief re: Still v.
21                      Raffensperger.
22                                   - - -
23
24
25

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1                    THE VIDEOGRAPHER:               Good morning.
2            We're going on the record at 10:20 a.m.,
3            Monday, August 15th, 2022.                    Please note
4            the microphones are sensitive and may pick
5            up whispering, private conversations and
6            cellular interference.
7                    Please turn off all cell phones or
8            place them away from the microphones as
9            they can interfere with deposition audio.
10           Audio and video recording will continue to
11           take place unless all parties agree to go
12           off the record.
13                   This is media unit one of the video
14           recorded deposition of Eric Chaney taken
15           by counsel for defendant in the matter of
16           Donna Curling, et al. versus Brad
17           Raffensperger, et al., filed in the United
18           States District Court of the Northern
19           Georgia -- District of Georgia, Case
20           Number 1:17-CV-02989-AT.
21                   This deposition is being held at the
22           Fairfield Inn, located at 1815 Peterson
23           Avenue South, Douglas, Georgia.
24                   My name is Scott Bridwell.                     I'm from
25           the firm of Veritext Legal Solutions.                          I

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1            am the videographer.                The court reporter
2            is Debra Druzisky from the firm Veritext
3            Legal Solutions.
4                    I am not authorized to administer an
5            oath.      I am not related to any party in
6            this action, nor am I financially
7            interested in the outcome.
8                    Counsel and all present in the room
9            and everyone attending remotely will now
10           state their appearance and affiliations
11           for the record.
12                   MR. CROSS:          David Cross of Morrison &
13           Foerster on behalf of the Curling
14           plaintiffs.          And with me is my colleague
15           Jenna Conaway.
16                   THE WITNESS:           Eric Chaney, witness.
17                   MR. DELK:         Stephen Delk on behalf of
18           Mr. Chaney.
19                   MR. PICO-PRATS:             Javier Pico-Prats on
20           behalf of the state defendants.
21                   (Whereupon, a technical discussion
22             ensued off the record.)
23                   THE VIDEOGRAPHER:               Will the court
24           reporter please swear in the witness?
25     ///

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1                                ERIC B. CHANEY,
2      having been first duly sworn, was examined and
3      testified as follows:
4                    THE VIDEOGRAPHER:            Thank you.        We may
5           proceed.
6                                   EXAMINATION
7      BY MR. CROSS:
8           Q.       Good morning, Mr. Chaney.
9           A.       Good morning.
10          Q.       Appreciate you being here.                You are here
11     pursuant to a subpoena; right?
12          A.       Yes.
13          Q.       And can you just give me your full name
14     again for the record?
15          A.       Eric Brandon Chaney.
16          Q.       And where do you currently live?
17          A.
18
19          Q.       Okay.     And how long have you been at that
20     address?
21          A.       A couple months.
22          Q.       And where were you before that?
23          A.                                                               .
24          Q.       And how long were you there?
25          A.       Two years.

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1            Q.       And then how about before that?
2            A.       I've lived in Douglas my entire life.
3            Q.       Okay.     So always in Douglas, Georgia?
4            A.       Yes.
5            Q.       Okay.     And sorry.         I get confused with
6       counties in Georgia.             You guys have a lot of
7       counties, 159; right?
8            A.       We do.
9            Q.       I grew up in South Carolina.                 I don't
10      think we have that many.               What county do you
11      currently live in?
12           A.       Coffee.
13           Q.       And how long have you been in Coffee
14      County?
15           A.       My entire life.
16           Q.       Your whole life.           Okay.
17                    Have you -- so you've always voted in
18      Coffee?
19           A.       That's correct.
20           Q.       Okay.     All right.         Have you been deposed
21      before?
22           A.       I have.
23           Q.       How many times?
24           A.       Once.
25           Q.       And just generally, what kind of case was

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1       that?
2              A.       A civil case.
3              Q.       Okay.     Were you a witness or a party?
4              A.       A party.
5              Q.       Okay.     Defendant?
6              A.       Yes.
7              Q.       Okay.     So this will probably be similar.
8       I'll ask you questions during the course of the
9       day.        You have to -- you have to answer the
10      question I ask unless Mr. Delk instructs you not
11      to.
12                      If at any point you have a question about
13      the question, something's not clear, just tell me.
14      If you want to take a break at any point, that's
15      fine.        The only rule is you have to answer a
16      pending question --
17             A.       Sure.
18             Q.       -- unless the break is to ask a question
19      to your counsel about privilege.                      Otherwise, you
20      need to answer.
21                      Answers need to be audible and need to be
22      "yes" or "no," not "huh-uh" or "uh-huh."
23             A.       Right.
24             Q.       Otherwise, it makes it hard for Debra.
25                      Is there any reason that you feel you

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1       cannot testify truthfully and completely today?
2            A.       No.
3            Q.       Okay.     You're not on any kind of
4       medications or anything that might affect your
5       testimony?
6            A.       No.
7            Q.       Where did you go to school?
8            A.       I went to school in Coffee County since
9       kindergarten and attended South Georgia College at
10      the time.        It's now South Georgia State College.
11           Q.       And that's here in Coffee County?
12           A.       That's correct.
13           Q.       When did you graduate college?
14           A.       I did not graduate from college.
15           Q.       All right.        Did you attend '98 to 2001?
16           A.       In college?        I did.
17           Q.       Okay.     So you didn't do, what, a senior
18      year?
19           A.       Yes.     I attended college and high school
20      my senior year.
21           Q.       Okay.     And then so you didn't get a
22      degree?
23           A.       I did not.
24           Q.       Got it.
25                    Do you have any other formal education

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1       besides a high school degree and attending college?
2            A.       I do not.
3            Q.       Okay.     And you run a car dealership?
4            A.       Yes, sir.
5            Q.       How long have you done that?
6            A.       Since 2001.
7            Q.       Okay.     So you left college and started
8       running the car dealership?
9            A.       That's correct.
10           Q.       Do you own the dealership?
11           A.       I do not.
12           Q.       So you -- are you a manager?
13           A.       I am actually the C.E.O.
14           Q.       C.E.O.?      Okay.
15           A.       Yes, sir.
16           Q.       So you started at that same -- so you
17      started at that same dealership in 2001 and you've
18      been there for 21 years?
19           A.       Yes.
20           Q.       What did you start as?
21           A.       I guess in sales.
22           Q.       Okay.
23           A.       Yeah.
24           Q.       When did you become the C.E.O.?
25           A.       I don't recall.

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1            Q.       Would you say it's more than five years?
2            A.       Yes.
3            Q.       More than ten years?
4            A.       No.
5            Q.       Okay.     Who owns the dealership?
6            A.       Donnie Chaney, my father.
7            Q.       Okay.     And new cars or used?
8            A.       Used.
9            Q.       And that's here in Coffee County?
10           A.       Yes.
11           Q.       Is that in Douglas?
12           A.       Yes.
13           Q.       Okay.
14                    (Whereupon, a technical discussion
15            ensued off the record.)
16      BY MR. CROSS:
17           Q.       Have you had any other jobs since you left
18      college besides the dealership?
19           A.       No, sir.
20           Q.       Okay.     And at some point you served on the
21      Coffee County Board of Elections; right?
22           A.       That's correct.
23           Q.       How long did you do that?
24           A.       I'm not really sure an exact date that I
25      went on the board.

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1            Q.       Would you say you served on the board more
2       or less than five years?
3            A.       More.
4            Q.       Okay.     More than ten?
5            A.       No.
6            Q.       More than seven?
7            A.       No.
8            Q.       So somewhere maybe in the five to six,
9       seven-year range?
10           A.       That's correct.
11           Q.       Okay.     And do I understand you resigned
12      from the board last Friday?
13           A.       I did.
14           Q.       Okay.     And what was the reason for that?
15           A.       Because I moved down to Mallard Point from
16      Bay Meadows.
17           Q.       And where is Mallard Point?
18           A.       It's on the east side of the county.                    Bay
19      Meadows is on the southwest side of the county.
20      District 3 is Bay Meadows encompassment, and
21      Mallard Point is District 5, if I recall correctly.
22           Q.       Okay.     So but you still live in the
23      county?
24           A.       Yes.
25           Q.       So why would you need to resign from the

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1       board if you're still in the county?
2             A.       I was under the impression that the board
3       member has to reside within the district of the
4       commissioner who appoints him.
5             Q.       I see.
6                      How many districts are there in the
7       county?
8             A.       I think five.
9             Q.       Okay.     There's six voting precincts;
10      right?
11            A.       I'm not sure.
12            Q.       Okay.     Does each district have its own
13      voting precinct?
14            A.       There again, I'm not sure --
15            Q.       Okay.
16            A.       -- specifically.
17            Q.       Okay.     Just make sure you keep your voice
18      up.
19            A.       Sure.
20            Q.       Okay.     So how many members of the board
21      are there?
22            A.       Five.
23            Q.       And each member of the board is appointed
24      by a commissioner of a particular district?
25            A.       Yes.

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1             Q.       And what district were you appointed for?
2             A.       Three.
3             Q.       Okay.     And when were you appointed?                  That
4       was sometime in the last five to seven years?
5             A.       Correct.
6             Q.       Okay.     And who appointed you?
7             A.       Commissioner A.J. Dovers.
8             Q.       When did you move out of District 3?
9             A.       Specifically, I'm not exactly sure of the
10      exact date, but a couple months ago.
11            Q.       Okay.     And so what brought that to a head
12      on Friday?
13            A.       I have -- or had talked to my commissioner
14      about, you know, if did I need to resign, did I
15      need to, you know, turn the resignation letter in.
16      They was not sure.
17                     And they finally got some legal grounds
18      that you can't serve unless you're living or
19      residing within the district that you're appointed
20      to.    So.
21            Q.       Okay.     So this was an issue that just came
22      up on Friday?
23            A.       It's an issue we addressed on Friday.
24            Q.       Okay.     When did -- when did the issue
25      first arise?

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1            A.       I notified the commissioner when I moved.
2            Q.       And that was a couple months ago?
3            A.       Yes.
4            Q.       Okay.     And then when did you first hear
5       from the commissioner that you needed to live in
6       the district?
7            A.       Friday.
8            Q.       Okay.     So you heard the same day and
9       resigned that day?
10           A.       That's correct.
11           Q.       Who else is current -- well, strike that.
12                    Who is currently on the board right now
13      for Coffee County?
14           A.       Our chairperson is Ms. Ernestine
15      Thomas-Clark.          Co-chair I believe is either Wendell
16      Stone or Matthew McCullough.                  I'm not 100 percent
17      sure of that at this time.
18                    Matthew McCullough is a board member,
19      Wendell Stone is a board member, and Andy Thomas is
20      a board member currently.
21           Q.       Did you ever serve as chair?
22           A.       No.
23           Q.       Co-chair?
24           A.       No.
25           Q.       Did you ever have any position on the

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1       board other than just a board member?
2            A.       No.
3            Q.       What were your responsibilities generally
4       as a member of the Coffee County election board?
5            A.       Just a board member.
6            Q.       Right.      But what does the Coffee County
7       board do with respect to elections in the county?
8            A.       The board basically is in charge of hiring
9       the supervisor of elections and the assistant
10      supervisor of elections and making sure they
11      fulfill their duties and conduct elections and make
12      sure that people are able to register to vote in
13      Coffee County.
14           Q.       Okay.     And do I understand right that the
15      elections supervisor and the assistant elections
16      supervisor in Coffee County, they report to the
17      board?
18           A.       They do.
19           Q.       Have you served on any other election
20      boards?
21           A.       No.
22           Q.       Have you had any other official positions
23      with respect to Georgia elections?
24           A.       No.
25           Q.       What did you do, if anything, to prepare

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1       for the deposition today?
2                     MR. DELK:       And I'll instruct the
3            witness, don't divulge anything that you
4            and I discussed in our meetings.
5                     THE REPORTER:         I'm sorry.         I don't
6            know who was speaking.
7                     MR. DELK:       That was Stephen Delk.
8                     THE REPORTER:         Okay.      Can you restate
9            that, please?
10                    MR. DELK:       Sure.      I was just
11           instructing the witness to not divulge
12           anything from my communications with him,
13           because that would be privileged
14           information.
15                    But subject to that, you can respond.
16      BY MR. CROSS:
17           Q.       So apart from talking with your counsel,
18      what, if anything, did you do to prepare for today?
19           A.       On the advice of counsel, I respectfully
20      decline to answer on the basis of my rights and
21      privilege under Article I, Section 1, Paragraph 16
22      of the Georgia Constitution, the Fifth Amendment of
23      the United States and Georgia law.
24                    As the United States Supreme Court has
25      stated, privilege against testifying protects

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1       everyone, including innocent people, from answering
2       questions if the truth might be used to help create
3       a misleading impression that they were somehow
4       involved in improper conduct.
5                     So I hereby follow the advice of my
6       counsel and respectfully decline to answer.
7            Q.       You're taking the Fifth Amendment in
8       response to a question of what you did to get ready
9       for today?
10           A.       Yes.
11           Q.       Okay.
12                    MR. CROSS:        And Mr. Delk, just for
13           ease, if he's going to take the Fifth in
14           response to any other questions, if he
15           just says Fifth Amendment.
16                    MR. DELK:       That's fine, as long as we
17           stipulate that in -- by stating so, it
18           encompasses the entirety of the statement.
19                    MR. CROSS:        Yes.
20                    MR. DELK:       That's agreeable.
21                    MR. CROSS:        Yeah.      Okay.     You tell
22           me.
23                    MR. DELK:       Moving forward all you
24           need to do is say "Fifth Amendment," and
25           it saves you from having to read the whole

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1            statement.
2                     THE WITNESS:         Yes.
3                     MR. CROSS:        Yeah.
4                     (Whereupon, a discussion ensued
5               off the record.)
6       BY MR. CROSS:
7            Q.       All right.        Let me hand you what's been
8       mark -- what's going to be marked as Exhibit 1.
9                     MR. CROSS:        Mr. Delk, if you want to
10           take a look at it, it's a copy of the
11           document subpoena that we -- that my
12           client served.
13                                    (Whereupon, Plaintiff's
14                                      Exhibit 1 was marked for
15                                      identification.)
16      BY MR. CROSS:
17           Q.       And sorry, disregard that red X.                   I wasn't
18      going to use that particular copy, but it's the
19      only one we have.            Otherwise, it's exactly the
20      same.
21           A.       Sure.
22           Q.       But just tell me, do you recognize Exhibit
23      1?
24           A.       Yes.
25           Q.       Okay.     And so you recognize this as a

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1       subpoena that you received in this case to produce
2       documents?
3            A.       Yes.
4            Q.       All right.        So take -- turn to Page 10, if
5       you would, where at the top it says Document
6       Requests.        And then you'll see that there's ten
7       document -- or sorry, 12 document requests that go
8       to Page 12.
9                     Do you see that?
10           A.       Yes.
11           Q.       Walk me through what you did, if anything,
12      to collect and produce documents for this subpoena.
13           A.       Fifth Amendment.
14           Q.       There's nothing at all you're willing to
15      tell me on that topic; is that right?
16           A.       Fifth Amendment.
17           Q.       Okay.     Do you recall receiving a subpoena,
18      a separate document subpoena from the other
19      plaintiffs, the Coalition plaintiffs?
20           A.       Fifth Amendment.
21           Q.       Can you -- what, if anything, did you do
22      to collect documents in response to a subpoena that
23      you received for documents from the other
24      plaintiffs in this case?
25           A.       Fifth Amendment.

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1                     (Whereupon, a discussion ensued
2             off the record.)
3       BY MR. CROSS:
4            Q.       I'm going to mark that as Exhibit 2.
5       That's the Coalition subpoena.
6                                     (Whereupon, Plaintiff's
7                                       Exhibit 2 was marked for
8                                       identification.)
9       BY MR. CROSS:
10           Q.       Mr. Chaney, do you recognize Exhibit 2 as
11      a second subpoena you received for documents in
12      this case?
13                    (Whereupon, the document was
14            reviewed by the witness.)
15                    THE WITNESS:         Yes.
16      BY MR. CROSS:
17           Q.       And what, if anything, did you do to
18      collect documents for that subpoena?
19           A.       Fifth Amendment.
20                    (Whereupon, a discussion ensued
21            off the record.)
22                    MR. CROSS:        Let's go off the record
23           for a second.
24                    THE VIDEOGRAPHER:            We're going off
25           the record at 10:39.

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1                     (Whereupon, a discussion ensued
2             off the record.)
3                     THE VIDEOGRAPHER:            We are on the
4            record at 10:43 a.m.
5                                     (Whereupon, Plaintiff's
6                                       Exhibit 3 was marked for
7                                       identification.)
8       BY MR. CROSS:
9            Q.       All right.        Mr. Chaney, I'm going to hand
10      you Exhibit 3.          We'll let Mr. Delk look at it
11      first.
12                    Tell me if you recognize Exhibit 3.
13                    (Whereupon, the document was
14            reviewed by the witness.)
15                    THE WITNESS:         I do.
16      BY MR. CROSS:
17           Q.       Okay.     And what is Exhibit 3?
18           A.       My response for production of documents.
19           Q.       In response to the subpoena served by the
20      Coalition plaintiffs; right?                  See where it says
21      C.G.G.?
22           A.       Yes.
23           Q.       Okay.     And if -- do I understand
24      correctly, you have not produced any document at
25      all in response to either of the document subpoenas

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1       you received; right?
2                     MR. DELK:       Object to the form.
3                     You can answer if you understand.
4                     THE WITNESS:         I produced what I have.
5       BY MR. CROSS:
6            Q.       Which is nothing?
7            A.       I produced what I have.
8            Q.       Okay.     Walk me through the documents that
9       you produced in response to the subpoenas.
10      Describe them for me.
11                    MR. DELK:       I'll object to the extent
12           there's a qualifier in one of the
13           responses about documents by agreement of
14           counsel regarding any documents that have
15           been previously produced in the
16           litigation.
17                    But subject to that, he can certainly
18           respond.
19      BY MR. CROSS:
20           Q.       What did you personally produce in
21      response to the subpoenas, if anything?
22           A.       Everything that's here.
23           Q.       What does that mean?
24           A.       It's pretty cut and dry.               It's in black
25      and white.        Everything that's here --

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1            Q.       Right.      And --
2            A.       -- is what I produced.
3            Q.       Okay.     And if we look, in response to one,
4       you say "none."           Right?
5            A.       That's correct.
6            Q.       Two says "none."           Right?
7            A.       That's right.
8            Q.       In fact, if we go from three to eight,
9       they all say "none."             Right?
10           A.       Okay.
11           Q.       Meaning you represented you had no
12      documents to produce in response to any of those
13      requests; correct?
14           A.       That's correct.
15           Q.       Then we get to number nine; right?
16           A.       Okay.
17           Q.       And nine has an objection about
18      attorney-client privilege and work product.                           Do you
19      see that?
20           A.       I do.
21           Q.       And then it says:
22                    "Chaney has no additional
23            documents of which he is aware to
24            provide in response to this request
25            outside of what has been previously

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1             provided to Marilyn Marks."
2                     Do you see that?
3            A.       That's correct.
4            Q.       Okay.     And you're talking about there
5       documents that Ms. Marks received from Coffee
6       County in response to open records requests; right?
7            A.       That's correct.
8            Q.       Okay.     What involvement did you have in
9       collecting documents for the open records requests
10      that Ms. Marks served that are referenced there?
11           A.       Fifth Amendment.
12           Q.       And number ten has the same response;
13      right?
14           A.       That's correct.
15           Q.       Number 11 has the same response; right?
16           A.       That's correct.
17           Q.       So for nine, ten and 11, did you have any
18      involvement in collecting documents for the open
19      records requests that are referenced in those
20      responses?
21           A.       Fifth Amendment.
22           Q.       Because you have not produced any
23      documents yourself in response to nine, ten and 11
24      apart from what might have been included in the
25      open records productions; right?

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1            A.       Fifth Amendment.
2            Q.       And then when we get to the rest of the
3       requests, 12 through 27, they all say "none."
4       Right?
5            A.       That's correct.
6            Q.       So you represented you had no documents at
7       all to produce in response to those requests;
8       correct?
9            A.       Yes.
10           Q.       And you're not going to tell me anything
11      about what you did to look for documents in
12      response to any of these requests; is that right?
13           A.       Fifth Amendment.
14           Q.       When you received either of the subpoenas
15      for documents, did you destroy documents that were
16      responsive to that request?
17           A.       Fifth Amendment.
18           Q.       Had you previously destroyed documents
19      responsive to those requests?
20           A.       Fifth Amendment.
21           Q.       Are you aware that, as a member of the
22      Coffee County election board of -- election board,
23      that you have certain legal obligations under
24      Georgia law to preserve the documents with respect
25      to county election business?

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1            A.       Fifth Amendment.
2            Q.       Have you complied with that obligation?
3            A.       Fifth Amendment.
4            Q.       Take a look at request two in Exhibit 3,
5       if you would, please, on the first page.                        This one
6       asks for:
7                     "All communications, including
8             text messages with Misty Hampton
9             related to, referencing or regarding
10            Coffee County election matters,
11            including election records, election
12            activities or election system
13            components."
14                    Do you see that?
15           A.       I do.
16           Q.       And Misty Hampton is the -- is a former
17      elections supervisor in Coffee County; right?
18           A.       Correct.
19           Q.       And she left in February of 2021; right?
20           A.       I don't know the exact date.
21           Q.       Does that sound about right?
22           A.       I don't know.
23           Q.       Well, do you recall that she left in the
24      spring of 2021?
25           A.       I do.

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1            Q.       Okay.     And she served in that position,
2       was it about nine years?
3            A.       I don't know.
4            Q.       She was in that position the whole time
5       you were on the board; right?
6            A.       Yes.
7            Q.       Okay.     And so do I understand right that,
8       in response to the request number two here, you had
9       absolutely no documents to provide us that in any
10      way relate to, or any communications with the
11      former elections supervisor that in any way relate
12      to Coffee County election matters?
13           A.       That's correct.
14           Q.       Even though you're required to preserve
15      those by law?
16           A.       I don't have any documents.
17           Q.       When did you destroy those?
18                    MR. DELK:       Object to the form.
19      BY MR. CROSS:
20           Q.       When did you destroy those documents?
21           A.       Fifth Amendment.
22           Q.       Why did you destroy those documents?
23           A.       Fifth Amendment.
24           Q.       You destroyed every communication you ever
25      had with Misty Hampton, even those regarding Coffee

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1       County election matters; is that right?
2            A.       Fifth Amendment.
3                     MR. DELK:       Object to the form.
4       BY MR. CROSS:
5            Q.       Are you aware that the proceeding we're
6       test -- you're testifying in today is a civil
7       proceeding, not a criminal proceeding?
8            A.       It's my understanding.
9            Q.       Okay.     And are you aware that, when a
10      witness asserts the Fifth Amendment in a civil
11      proceeding, the Court can infer that the individual
12      has done what they're being asked about?
13           A.       Fifth Amendment.
14           Q.       Does that inference concern you?
15           A.       Fifth Amendment.
16                    MR. DELK:       Object to the form.
17      BY MR. CROSS:
18           Q.       Do you believe you've committed a crime?
19           A.       Fifth Amendment.
20           Q.       Mr. Chaney, are you or have you been under
21      investigation by any federal or state authorities
22      at any time?
23           A.       No.
24           Q.       Are you being or have you been called to
25      testify in any federal or state grand jury

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1       proceeding?
2            A.       No.
3            Q.       Are you or have you received any formal or
4       informal assurance of immunity from any federal or
5       state authority?
6            A.       Not that I'm aware of.
7            Q.       Have you sought immunity?
8            A.       No.
9            Q.       Have you been charged with a crime
10      regarding any matter in which you are claiming
11      Fifth Amendment privilege today?
12           A.       No.
13           Q.       Has any law enforcement authority
14      contacted you about any matter on which you're
15      claiming the Fifth Amendment privilege today?
16                    MR. DELK:       Object to the form.
17                    THE WITNESS:         Fifth Amendment.
18      BY MR. CROSS:
19           Q.       At all times that you were engaged in any
20      matter related to the Coffee County election
21      process or involving Coffee County election
22      equipment, were you acting in your official
23      capacity as a member of the Coffee County Board of
24      Elections?
25           A.       I don't understand the form of your

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1       question.        Can you --
2            Q.       Sure.
3            A.       -- rephrase that?
4            Q.       You have been inside the Coffee County
5       election office; right?
6            A.       Yes.
7            Q.       And was there ever a point where you were
8       inside the Coffee County elections office in any
9       capacity other than as a member of the board?
10           A.       No.
11           Q.       Just so I understand, when you're invoking
12      the Fifth Amendment today, are you doing that on
13      your personal behalf or on behalf of the Coffee
14      County Board of Elections?
15                    MR. DELK:       Object to the form.             You
16           know that's not legally proper to do it on
17           behalf of the board.              And this deposition
18           is noticed for individual, not a 30(b)(6),
19           so I object to the entire format of that
20           question being improper.
21                    MR. CROSS:        I mean, it seems like
22           we're agreeing, but I just want to make
23           sure that he's asserting the Fifth
24           personally, not on behalf of the board.
25                    MR. DELK:       He's only providing

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1            testimony personally.
2                     MR. CROSS:        Okay.
3       BY MR. CROSS:
4            Q.       Do you disagree with your counsel?
5            A.       I do not.
6            Q.       Okay.
7                                     (Whereupon, Plaintiff's
8                                       Exhibit 4 was marked for
9                                       identification.)
10      BY MR. CROSS:
11           Q.       So Mr. Chaney, I've handed you what's been
12      marked as Exhibit 4.             Just take a moment to read
13      through it, and tell me if you recognize it.
14                    (Whereupon, a discussion ensued
15            off the record.)
16                    (Whereupon, the document was
17            reviewed by the witness.)
18                    THE WITNESS:         Yes, sir, I do.
19      BY MR. CROSS:
20           Q.       And what do you recognize Exhibit 4 as?
21           A.       It's just an investigation summary where
22      there was a complaint -- or complaints filed I
23      guess through the Secretary of State's office.                        And
24      I see the findings and the potential violation on
25      the back of the page.

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1            Q.       Okay.     So Exhibit 4 is an official summary
2       from the Secretary of State's office about an
3       investigation involving Coffee County; is that
4       fair?
5            A.       Yes.
6            Q.       And what involvement, if any, did you have
7       with this investigation?
8            A.       None that I recall.
9            Q.       So did anybody from the State interview
10      you as a member of the board?
11           A.       Not that I recall.
12           Q.       Did anyone from the State provide a report
13      to any -- to you as a member of the board other
14      than what's written here?
15           A.       Not that I recall.
16           Q.       Okay.     So if we look at Exhibit 4, look at
17      complaint two on Page 1.               Do you see that?
18           A.       I do.
19           Q.       And it reads:
20                    "A video surfaced on YouTube where
21              it showed Coffee County election
22              supervisor Misty Martin discussing the
23              ways in which the election software
24              could be manipulated."
25                    Do you see that?

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1              A.       I do.
2              Q.       And Misty Martin is the same person as
3       Misty Hampton?
4              A.       Yes.
5              Q.       Okay.     So we're talking about the, at this
6       time, the Coffee County election supervisor; right?
7              A.       Yes.
8              Q.       Okay.     And are you familiar with that
9       YouTube video?
10             A.       Yes.
11             Q.       You filmed that video; right?
12             A.       Fifth Amendment.
13             Q.       The video that's referenced there, that
14      was filmed during an official meeting of the Coffee
15      County election board in the Coffee County
16      office -- election office; right?
17             A.       Fifth Amendment.
18             Q.       All right.        Turn to the third page, if you
19      would.        Do you see where it has Findings at the
20      top?
21             A.       Yes, sir.
22             Q.       And then Complaint Two referencing that
23      same complaint.             Do you see that?
24             A.       Yes.
25             Q.       And under the findings here, the State

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1       reports:
2                     "Ms. Martin, along with Coffee
3             County Board of Election member Eric
4             Chaney, made two videos claiming the
5             Dominion system election software
6             could be manipulated."
7                     Do you see that?
8            A.       I do.
9            Q.       Do you disa -- dispute that finding?
10           A.       Fifth Amendment.
11           Q.       It then goes on, if you come to the third
12      sentence, four lines down in the middle, do you see
13      where it reads, "Ms. Martin never"?
14           A.       I do.
15           Q.       And it -- and the finding here is:
16                    "Ms. Martin never once during the
17            videos explained the intended use of
18            the adjudication process.
19                    "The video was very misleading and
20            seemed its purpose was simply to
21            create doubt and public mistrust in
22            the Dominion Voting System."
23                    Do you see that?
24           A.       Yes.
25           Q.       Was it your purpose in creating this video

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1       to create doubt and public mistrust in the Dominion
2       Voting System?
3                     MR. DELK:       Object to the form.
4                     THE WITNESS:         Fifth Amendment.
5       BY MR. CROSS:
6            Q.       What was the purpose of the video?
7            A.       Fifth Amendment.
8            Q.       As you sit here, do you have any reason to
9       believe creating the video was criminal?
10           A.       Fifth Amendment.
11           Q.       Do you believe that video being released
12      to the public was criminal?
13           A.       Fifth Amendment.
14           Q.       If you come down to the second paragraph,
15      do you see where there's discussion of a password
16      that was taped to the bottom of the computer screen
17      Ms. Martin was using?
18           A.       Yes.
19                    (Whereupon, a discussion ensued
20            off the record.)
21                                    (Whereupon, Plaintiff's
22                                      Exhibit 5 was marked for
23                                      identification.)
24      BY MR. CROSS:
25           Q.       I'll hand you Exhibit 5.               And just tell me

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1       if you recognize Exhibit 5, please.
2            A.       Not specifically, I don't.
3            Q.       So Exhibit 5 is a screenshot that we took
4       from the video that's referenced in this complaint
5       of a Post-It note there and the password.
6                     Does that help you recognize what that is?
7            A.       I don't -- I mean, I see something there,
8       but I don't know if it's a password or what it is.
9            Q.       Okay.     But do you re -- looking at Exhibit
10      5, do you recall that portion of the video where
11      there was a screen -- the computer screen in the
12      elections office that had a Post-It note with some
13      digits written on it?              Do you recall that?
14           A.       Fifth Amendment.
15           Q.       Okay.     In the findings here, the Secretary
16      of State reports in the last sentence:
17                    "It was later discovered the
18            password was used to access the
19            Dominion Voting System."
20                    Do you see that?
21           A.       I do.
22           Q.       Do you disagree with that finding?
23           A.       Fifth Amendment.
24           Q.       Do you know whether that password was used
25      to access the E.M.S. server computer or if it was

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1       instead used to access a particular election
2       database for the November 2020 election that the
3       County received on a hard drive from the State?
4            A.       Fifth Amendment.
5            Q.       Did you, yourself, ever log in to the
6       E.M.S. server desktop in the Coffee County election
7       office?
8            A.       No.
9            Q.       Do you know what the password was?
10           A.       No.
11           Q.       Do you know if anyone ever changed that
12      password?
13           A.       I do not.
14                    (Whereupon, a discussion ensued
15            off the record.)
16                                    (Whereupon, Plaintiff's
17                                      Exhibit 6 was marked for
18                                      identification.)
19      BY MR. CROSS:
20           Q.       All right.        Let me hand you what's been
21      marked as Exhibit 6.
22                    (Whereupon, the document was
23            reviewed by the witness.)
24                    THE WITNESS:         Okay.
25      BY MR. CROSS:

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1            Q.       Do you recognize Exhibit 6?
2            A.       Yes.
3            Q.       And what is it?
4            A.       There's quite a bit of information here,
5       several different things.
6            Q.       So let's start with the letter.                   The cover
7       letter in Exhibit 6 is a letter that you sent on
8       behalf of the Coffee County Board of Elections;
9       right?
10           A.       Yes.
11           Q.       And you sent that to the House
12      Governmental Affairs Committee; right?
13           A.       Yes.
14           Q.       And that was for the state of Georgia
15      House Governmental Affairs Committee; right?
16           A.       Yes.
17           Q.       And what was the purpose of you sending
18      this letter on behalf of the board?
19           A.       I feel it's pretty self-explanatory with
20      the language inside the letter.                   It gives our
21      complaints.
22           Q.       Well, was the idea to convey to the House
23      Governmental Affairs Committee concerns that the
24      Coffee County board had about the reliability of
25      the Dominion Voting System?

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1                     MR. DELK:       Object to the form.
2                     You can answer.
3                     THE WITNESS:         We had issues in, that
4            we've noted in this letter that we would
5            have liked some clarity on and some
6            guidance from the Secretary of State's
7            office.
8       BY MR. CROSS:
9            Q.       So then why did you send the letter to the
10      House Governmental Affairs Committee instead of
11      directly to the Secretary of State's office?
12           A.       I think it addresses it here inside the
13      letter, that we was having some issues and that we
14      had contacted the Secretary of State's office and
15      we had had -- you know, we'd not gotten anywhere
16      with the Secretary of State's office by submitting,
17      you know, any complaints or calls or so on and so
18      forth.
19           Q.       So the board over some period of weeks or
20      months had in -- had raised certain concerns with
21      the Dominion system with the Secretary of State's
22      office and had not gotten a response; is that
23      right?
24           A.       As I recall.
25           Q.       Okay.     And so then the board decided to

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1       turn to the House Governmental Affairs Committee
2       for help; is that right?
3                     MR. DELK:       Object to the form.
4                     You can respond unless I --
5                     THE WITNESS:         Okay.
6                     MR. DELK:       -- unless I instruct
7            otherwise.
8                     THE WITNESS:         That's correct.
9       BY MR. CROSS:
10           Q.       Okay.     And what was the reason that you
11      decided to include each of the exhibits to the
12      letter?
13           A.       It's just data.          It shows some of our --
14      some of our issues we was having.
15           Q.       Well, how did you think that data would be
16      helpful to the committee?
17           A.       I'm not sure.
18           Q.       Do you still have a copy of this letter
19      yourself?
20           A.       I don't.
21           Q.       Why not?
22           A.       I don't know.
23                                    (Whereupon, Plaintiff's
24                                      Exhibit 7 was marked for
25                                      identification.)

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1       BY MR. CROSS:
2            Q.       All right.        Mr. Chaney, handing you what's
3       been marked as Exhibit 6.
4                     MR. DELK:       I think we're on seven.
5                     MR. CROSS:        Are we?
6                     (Whereupon, there was unreportable
7               cross-talk.)
8                     MR. CROSS:        Yeah.      Thank you.
9            Exhibit 7.
10      BY MR. CROSS:
11           Q.       And just tell me if you recognize Exhibit
12      7 as a collection of meeting minutes from the
13      Coffee County Board of Elections.
14                    (Whereupon, the document was
15              reviewed by the witness.)
16                    THE WITNESS:         Yes.
17      BY MR. CROSS:
18           Q.       And if you would, look on the cover page,
19      the earliest date on these meeting minutes is
20      October 6th, 2020; right?
21           A.       Yes.
22           Q.       And if you go to the second-to-last page,
23      do you see that the most recent is May 3rd of this
24      year?
25           A.       Yes.

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1            Q.       Okay.     And how often when you were on the
2       board did the board meet?
3            A.       Once a month.
4            Q.       Were there ever special meetings?
5            A.       I think so, but I don't recall
6       specifically.
7            Q.       Okay.     So it met at least once a month?
8            A.       That's correct.
9            Q.       And what was the purpose of those
10      meetings?
11           A.       We would just discuss board of elections
12      business and, you know, things that boards discuss
13      during a meeting.
14           Q.       Was there an expectation that the board
15      meeting minutes would capture all of the topics
16      that were addressed at those meetings?
17           A.       It's my understanding that it would.
18           Q.       All right.        Turn to the third page.               This
19      is the November 10, 2020 meeting.                    Do you see that?
20           A.       I do.
21           Q.       If you look down at number six, do you see
22      where it says, "Mrs. Martin discussed the general
23      election results"?
24           A.       Yes.
25           Q.       And then this captures some of the

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1       dialogue in this.            And if you come down kind of
2       towards the middle of the paragraph, you'll see
3       where it says, "Mr. Chaney expressed his feelings."
4                     Do you see that?
5            A.       I do.
6            Q.       And it says:
7                     "Mr. Chaney expressed his feelings
8             of how the Dominion system 'sickens
9             him,'" which is in all caps, "of the
10            possibility of fraud and the deception
11            that can be manipulated by the
12            adjudication process.
13                    "Mr. Chaney also stated that he
14            told his state representative that he
15            was not trying to shoot the messenger,
16            but the Dominion system he felt was a
17            piece of junk."
18                    Do you see that?
19           A.       I do.
20           Q.       Do you recall this discussion at the board
21      meeting?
22           A.       Not verbatim, I don't.
23           Q.       Okay.     But does this generally capture
24      accurately your feelings at the time?
25                    MR. DELK:       Object to the form.

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1            You've not given him a complete statement
2            of this document.
3                     But subject to that, you can respond.
4                     THE WITNESS:         Fifth Amendment.
5       BY MR. CROSS:
6            Q.       Do you have a view on the reliability of
7       Georgia's Dominion Voting System?
8            A.       Fifth Amendment.
9            Q.       What was it about the possibility of fraud
10      with the Dominion Voting System that sickened you?
11           A.       Fifth Amendment.
12           Q.       Are you aware of any fraud involving the
13      Georgia voting system?
14           A.       Fifth Amendment.
15           Q.       All right.        Turn to the one, January 12th,
16      2021 meeting minutes.              And you see under number one
17      of the attendees, it says, "absent, Eric Chaney."
18                    Do you see that?
19           A.       I do.
20           Q.       Do you recall why you were absent on
21      January 12th?
22           A.       I do not.
23           Q.       Did you make an effort to attend board
24      meetings?
25           A.       I did.

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1            Q.       Okay.     And then you get to the next one
2       here is April 13, 2021.               Do you see that?
3            A.       I do.
4            Q.       Did the board meet in February and March
5       of that year?
6            A.       I don't recall.
7            Q.       Is there a reason they would not have met
8       for two months out of the year?
9            A.       I don't recall.
10           Q.       Do you know why there are no meeting
11      minutes for any board meeting in February and March
12      of 2021?
13           A.       I do not.       But I would -- I think COVID
14      could have possibly had a hand in that.                       I don't --
15      I'm -- there again, I'm not 100 percent sure.                         But
16      those dates strike me as possible dates that may
17      have been affected by that.                 But there again, I'm
18      not 100 percent sure of that.
19           Q.       Yeah, and I'm not asking you to speculate.
20      You don't know why there are no meeting minutes for
21      those months?
22           A.       I don't.
23           Q.       Okay.     Do you recall that Ms. Hamp --
24      Misty Hampton and Jil Ridlehoover's employment with
25      the County ended on February 25th of 2021?

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1            A.       There again, I don't recall the exact
2       date, but I do agree their term did end.
3            Q.       Okay.     And when they signed their letters
4       of resignation, they did that in separate meetings
5       with the board; right?
6            A.       Correct.
7            Q.       And did you attend those two meetings?
8            A.       I did.
9            Q.       In the meeting with Ms. Hampton, was she
10      told that the reason she was being asked to resign
11      was because her timesheets were inaccurate?
12           A.       That is correct.
13           Q.       And did she admit in that meeting that her
14      timesheets were inaccurate?
15           A.       I don't recall specifically if she
16      admitted it or not.
17           Q.       Did she say in that meeting that she had
18      been directed by members of the board to capture
19      comp time in the way she submitted her timesheets?
20           A.       I don't recall specifically.
21           Q.       Do you recall personally acknowledging in
22      that meeting that she had been told to do that?
23           A.       I do not.
24           Q.       You just don't know one way or the other
25      whether you said that?

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1            A.       I don't.
2            Q.       Well, as you sit here, do you -- are you
3       aware that she was told by one or more members of
4       the board to capture comp time in the way she
5       prepared her timesheets?
6                     MR. DELK:       Object to the form.
7                     THE WITNESS:         I'm not.
8       BY MR. CROSS:
9            Q.       You're saying you're not aware of that?
10           A.       I'm not aware if that was specifically
11      stated that way.
12           Q.       Well, what are you aware of about what was
13      conveyed to Ms. Hampton about how to capture her
14      time, her comp time?
15           A.       I'm not aware -- I'm not sure exactly.
16           Q.       Well, what are you sure of?
17           A.       I'm not sure of the way -- the form of
18      that question, if I can answer correctly, because
19      I'm not exactly sure of the verbiage that was used,
20      you know, as telling her how to calculate her time.
21           Q.       Okay.     So tell me whatever you can about
22      what Ms. Hampton was told to capture comp time with
23      respect to her timesheets.
24           A.       I'm --
25                    MR. DELK:       Object to the form.

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1                     THE WITNESS:         I'm not sure.          There
2            again, I don't know how she was told to do
3            her comp time.
4       BY MR. CROSS:
5            Q.       Well, you're not offering a view that she
6       submitted fraudulent timesheets, are you?
7            A.       Yes.
8            Q.       You are offering that view?
9            A.       I am.
10           Q.       Based on what?
11           A.       Video evidence that she was not in the
12      office during office hours that she had written
13      down that she was present in the office doing
14      office --
15           Q.       But if the additional --
16           A.       -- duties.
17           Q.       Sorry.      Go ahead.
18           A.       No, I'm done.
19           Q.       But if the additional time on those
20      timesheets was capturing comp time that she was
21      owed in accordance with the instructions of the
22      board, how would that be fraud?
23                    MR. DELK:       Object to the form.
24                    THE WITNESS:         There again, I told you
25           I don't know the specifics of her comp

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1            time agreement or what she was to put.
2                     But I know that, if you're in the
3            office from -- if you're putting on your
4            timesheet that you're in the office from
5            8:00 to 3:00, that you're in the office is
6            my opinion.          And if you're not there on
7            video, then you're not in the office.
8       BY MR. CROSS:
9            Q.       She was salaried; right?
10           A.       Yes.
11           Q.       What was her salary?
12           A.       I don't know.
13           Q.       And she got paid the same salary over the
14      course of the year; right?
15           A.       Yes.
16           Q.       So regardless of what she put on her
17      timesheet, she got paid the same; right?
18           A.       Yes, I assume that's right.
19           Q.       There was no suggestion to her in that
20      meeting or at any other time that her timesheets
21      caused the County to pay her more than she was
22      owed; right?
23           A.       Can you rephrase that again so I can maybe
24      get a better -- clearer understanding?
25           Q.       All right.        As a salaried employer, what

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1       she put on her timesheets did not affect how much
2       she got paid; right?
3            A.       If she says that she's in the office
4       performing the duties of her job, then if she's not
5       there, I think that's -- there's -- in lies the
6       problem.
7            Q.       Right.      But regardless of what she puts on
8       her timesheets, the paychecks she get -- that she
9       got was always the same; right?
10           A.       I'm not sure.
11                    MR. DELK:       Object to the form.
12      BY MR. CROSS:
13           Q.       You just don't know?
14           A.       I don't know.
15           Q.       Okay.     So before you asked her to resign,
16      it wasn't important to you to figure out whether
17      she had been authorized to report her timesheets in
18      the way she did and whether it even affected her
19      compensation?
20                    MR. DELK:       Object to the form.
21                    THE WITNESS:         Her not being at work
22           when she said she was at work was a big
23           factor for me.
24      BY MR. CROSS:
25           Q.       What was the video evidence that you

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1       relied on?
2            A.       Surveillance video from the elections
3       office.
4            Q.       How many cameras are there in that office?
5            A.       I'm not sure.
6            Q.       How many cameras were in that office at
7       the time that you looked at the surveillance video?
8            A.       I'm not sure.
9            Q.       Did you actually review the surveillance
10      video?
11           A.       I did.
12           Q.       How much video was there, for what time
13      period?
14           A.       I can't recall.
15           Q.       Was it a week?          Was it a month?           Was it
16      multiple months?
17           A.       I'm not exactly sure.
18           Q.       Well, can you say it was more or less than
19      a month?
20           A.       There again, I'm not sure.
21           Q.       Well, did it take you a few minutes to
22      review it or did it take you hours or did it take
23      you days?
24           A.       I was shown in just excerpts.
25           Q.       Who showed you excerpts?

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1            A.       I don't recall.
2            Q.       Was it another member of the board?
3            A.       There again, I don't recall.
4            Q.       Was it counsel for the board, like, Tony
5       Rowell?
6            A.       I do not recall.
7            Q.       Where is that video surveillance today?
8            A.       I do not know.
9            Q.       Would it surprise you to learn that Coffee
10      County claims it doesn't exist?
11           A.       There again, I don't know.
12           Q.       Did that video surveillance cover the
13      month of January 2021?
14           A.       I don't know.
15           Q.       You don't recall whether you viewed any
16      video surveillance from the elections county office
17      from January of 2021?
18           A.       I do not.
19           Q.       As a former member of the board, do you
20      have any inside information into why that video
21      surveillance would have been destroyed?
22           A.       Fifth Amendment.
23           Q.       Do you recall that, in that meeting on --
24      in February of 2021, that Ms. Hampton showed up
25      with a letter of resignation in an envelope?

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1            A.       I do not remember specifically.
2            Q.       Do you have a general memory of that, that
3       she offered a letter of resignation?
4            A.       Yes.
5            Q.       And do you recall that Mr. Rowell -- I'm
6       sorry, do you recall that Tony Rowell rejected that
7       and insisted that she sign a letter of resignation
8       that the board had drafted for her?
9            A.       I don't recall specifically.
10           Q.       Do you have a general memory that that's
11      how it went?
12           A.       I do not.
13           Q.       Why don't you tell me everything you
14      remember about that meeting.                  Walk me through it.
15           A.       Fifth Amendment.
16           Q.       In that meeting Mr. Rowell told
17      Ms. Hampton that, if she didn't sign the
18      resignation letter that the board had prepared,
19      that they would fire her and she would lose her
20      retirement; right?
21           A.       Fifth Amendment.
22           Q.       The board threatened her; correct?
23                    MR. DELK:       Object to the form.
24                    THE WITNESS:         Fifth Amendment.
25      BY MR. CROSS:

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1            Q.       In that meeting do you recall that she
2       signed the letter of resignation handed to her by
3       Mr. Rowell?
4            A.       Fifth Amendment.
5            Q.       After the board met with her, they met
6       with Jil Ridlehoover; right?
7            A.       That's correct.
8            Q.       And you were in that meeting as well;
9       correct?
10           A.       Yes.
11           Q.       And did she sign the same letter of
12      resignation as Ms. Hampton?
13           A.       Fifth Amendment.
14           Q.       And do I understand correctly that you
15      said it was a big concern for you that Ms. Hampton
16      and Ms. Ridlehoover were reporting time in the
17      office when they were not actually there?
18                    MR. DELK:       Object to the form.
19                    THE WITNESS:         I had an issue more
20           with Misty handling the timecards and
21           timesheets.          Because she was the one, if I
22           recall correctly, that said she had filled
23           out the timesheets for she and Jil, and
24           she had Jil sign the timesheets.                     And that
25           was my problem with both employees.

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1       BY MR. CROSS:
2            Q.       And that was discussed in this meeting?
3            A.       If I recall.
4            Q.       So you do remember some things from the
5       meeting?
6            A.       Bits and pieces.
7            Q.       So even though Ms. Ridlehoover had signed
8       timesheets that you say were fraudulent, you
9       shortly thereafter hired her to work for you;
10      right?
11           A.       Fifth Amendment.
12           Q.       Well, she does work for you; right?
13           A.       Fifth Amendment.
14           Q.       Okay.     It's public knowledge that
15      Ms. Ridlehoover works for you; right, sir?
16                    MR. DELK:       You can answer that
17           question.
18                    THE WITNESS:         She does.
19      BY MR. CROSS:
20           Q.       So you didn't -- you didn't have enough
21      concern with her committing fraud to think she was
22      an unreliable employee; is that fair?
23           A.       As I stated before my reasons, Misty had
24      filled out both timesheets, and my problem was I
25      had more of an issue with the way Misty had

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1       conducted and done what she done that I felt like
2       Jil was a victim of circumstance.
3            Q.       By signing timesheets that you thought
4       were fraudulent?
5            A.       Fifth Amendment.
6            Q.       James Barnes replaced Ms. Hampton as the
7       elections supervisor in Coffee County; right?
8            A.       Yes.
9            Q.       Do you recall that he began around April
10      1st of 2021?
11           A.       I'm not sure of the exact date, but in
12      that time frame, yes.
13           Q.       Do you know if anyone had access to the
14      Coffee County election office between the time
15      Ms. Hampton was let go and the time Mr. Barnes
16      started?
17           A.       I don't.        I know I did not.
18           Q.       Have you ever heard of Mike Lindell?
19           A.       I have.
20           Q.       And who is he?
21           A.       A guy that does a lot of commercials,
22      infomercials on TV is all I know.
23           Q.       He owns My Pillow; right?
24           A.       That's -- I think so.
25           Q.       And have you seen any news about

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1       Mr. Lindell as associated with former President
2       Trump?
3            A.       Bits and pieces, I have.
4            Q.       When was Mr. Lindell in the Coffee County
5       election office?
6            A.       To my knowledge, he's never been in the
7       elections office.
8            Q.       You're not aware of Mr. Lindell being in
9       Coffee County in around February, late February or
10      early March 2021?
11           A.       No, sir.
12           Q.       What about Doug Logan?
13           A.       No recollection of the name.
14           Q.       You're not aware of Doug Logan being in
15      the Coffee County election office?
16           A.       No.
17           Q.       What about Paul Maggio?
18           A.       I don't recognize the name.
19           Q.       Not aware of him in that office?
20           A.       Not that I'm aware of.
21           Q.       What about Chris -- sorry.                What about
22      Scott Hall?
23           A.       I don't know the name.
24           Q.       Not aware of him in that office?
25           A.       No, sir.

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1            Q.       Do you know Robert Sinners?
2            A.       I know the name.
3            Q.       Who is that?
4            A.       Just an attorney in the -- I know the name
5       of Robert Sinners, but I don't know Robert Sinners.
6            Q.       He works for the Secretary of State's
7       office; right?
8            A.       No idea.
9            Q.       You don't know Robert Sinners who started
10      working for the Secretary of State's office in
11      20 -- February of 2021?
12           A.       I do not.
13           Q.       Is there a reason why you have his phone
14      number?
15           A.       As I said, I don't know Robert Sinners.                     I
16      knew he's an attorney, but I don't -- past that, I
17      don't know Robert Sinners.
18           Q.       Okay.     All right.         Look at the meeting
19      minutes from June 8th, 2021.
20           A.       Okay.
21           Q.       I'm sorry.        Before we turn to that, the
22      video surveillance that you reviewed when
23      Ms. Hampton was asked to resign, did you see in any
24      of that video anyone in the Coffee County elections
25      office that wasn't supposed to be there?

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1            A.       Fifth Amendment.
2            Q.       Was that something that was discussed with
3       other members of the board or counsel?
4            A.       Fifth Amendment.
5            Q.       All right.        Take a look at the June 8,
6       2021 minutes.          Do you recall this board meeting?
7            A.       Not specifically, I do not.                 No, sir.
8            Q.       Do you recall Mr. Barnes reporting to you
9       or anyone else on the board at any meeting that the
10      Secretary of State's office had come in and taken
11      the E.M.S. server and the I.C.C. that had been in
12      Coffee County?
13           A.       I vaguely remember some discussion of
14      that, but I don't remember any specific
15      information.
16           Q.       Tell me what you remember about that.
17           A.       First of all, the terms "I.C.C. scanner"
18      and -- I mean, all the -- that really doesn't --
19      that doesn't ring a -- you know, I don't even know
20      what that is, per se.
21                    He just made mention that something was --
22      some of the equipment wasn't working, he contacted
23      the Secretary of State's office, as I recall, and
24      they had come -- I think, if I remember correctly,
25      they come down, they couldn't get it to work or

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1       couldn't figure it out, so they took some
2       equipment, I'm not sure of what, back with them.
3              Q.       And this was a -- this was something that
4       John -- Mr. Barnes conveyed to the board?
5              A.       That's right.
6              Q.       And was that at a board meeting?
7              A.       I think so.
8              Q.       Okay.     Do you know why that doesn't appear
9       in any of the board meeting minutes?
10             A.       I do not.
11             Q.       Does that surprise you?
12             A.       There again, I said I think so.                   I'm not
13      100 percent sure that it was conveyed to us in a
14      board meeting.            I don't recall.
15             Q.       Well, something as serious as the
16      Secretary of State's office seizing two major
17      components of your voting equipment, you'd expect
18      that to be discussed in a board meeting, wouldn't
19      you?
20             A.       I --
21                      MR. DELK:       Objection.
22                      THE WITNESS:         I was never under the
23             impression that it was seized.                    I was
24             under the impression that they replaced
25             our equipment.           That's my understanding.

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1       BY MR. CROSS:
2            Q.       Replacing, getting new election equipment,
3       the E.M.S. and the I.C.C., wouldn't you expect that
4       to be discussed at a board meeting?
5                     MR. DELK:       Object to the form.             Asked
6            and answered.
7                     THE WITNESS:         I'm not sure.
8       BY MR. CROSS:
9            Q.       Where were the board meetings typically
10      held?
11           A.       Typically, they were held at the Board of
12      Elections office.
13           Q.       So where Misty Hampton's office was?
14           A.       That's correct.
15           Q.       Okay.     And that's the same office where
16      the E.M.S. server, the I.C.C. and the B.M.D.s were
17      all stored; right?
18           A.       That's correct.
19           Q.       So the June 8 --
20                    MR. DELK:       When we talk about the
21           board, just for clarification so there's
22           no confusion about Misty's office, can
23           we -- the Board of Elections building
24           perhaps?
25                    MR. CROSS:        Sure.      Yeah.     That's

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1            fair.       I'm not suggesting they're all in
2            Misty Hampton's office.
3       BY MR. CROSS:
4            Q.       But just so we're clear, the board
5       meetings were typically held in the county
6       elections office, and there are separate spaces in
7       that office where some of the equipment is stored;
8       is that fair?
9            A.       That's fair.
10           Q.       Okay.     And the June 8, 2021 meeting, do
11      you have any reason to think that that was not held
12      in the county elections office?
13           A.       I don't.       I don't recall, but I would
14      assume that it was held there.
15                    MR. DELK:       And I'll instruct you,
16           don't assume.           You're under oath.            If you
17           know, answer.
18                    MR. CROSS:        Yeah.
19                    MR. DELK:       If you don't, then you
20           don't know.
21                    THE WITNESS:         I'm not 100 percent
22           sure, yes.
23      BY MR. CROSS:
24           Q.       Okay.     But do you recall having board
25      meetings at some location other than the county

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1       elections office, official board meetings like
2       this?
3            A.       We did hold Zoom board meetings at some
4       point during the pandemic, but I'm not sure if this
5       was one of them.           I don't know.
6            Q.       Right.      But June of 2021, a year and a
7       half into the pandemic, you guys were back in the
8       office at that point; right?
9            A.       I -- it's fair to think so, yes.
10           Q.       Okay.     Do you recall being in the county
11      elections office on June 8th for a meeting and
12      seeing individuals come in from the State to
13      replace the E.M.S. server?
14           A.       I don't.
15           Q.       Has anyone ever told you the State claims
16      to have replaced your server on June 8th?
17           A.       Yes.
18           Q.       When did you hear that?
19                    MR. DELK:       I'll object and say don't
20           divulge any communication with counsel.
21           But subject to that warning, you may
22           respond.
23                    THE WITNESS:         Taking the Fifth.
24      BY MR. CROSS:
25           Q.       Okay.     Do you know whether the Secretary

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1       of State's office actually replaced the E.M.S.
2       server in Coffee County?
3            A.       I don't know specifically.
4            Q.       So you don't know for sure whether that
5       server was actually replaced?
6            A.       I'm not say -- I didn't see them do it
7       physically.         So.
8            Q.       Okay.       What's your understanding of why
9       the server was replaced?
10           A.       Fifth Amendment.
11           Q.       What's your understanding of why the
12      I.C.C. was replaced by the State?
13           A.       Fifth Amendment.
14           Q.       Did Mr. Barnes ever convey to you or
15      others on the board any concern that that equipment
16      had been compromised?
17           A.       Fifth Amendment.
18           Q.       Are you aware that he testified under oath
19      that he -- that that was his understanding of why
20      it was being replaced?
21           A.       No, I'm not.
22           Q.       Are you aware of anyone ever having
23      compromised the E.M.S. server in Coffee County?
24           A.       Fifth Amendment.
25           Q.       Did Mr. Barnes ever say anything to you

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1       about the password not working on -- for the E.M.S.
2       server?
3            A.       Not that I recall.
4            Q.       So what was your understanding as to why
5       the server was replaced by the State?
6            A.       Fifth Amendment.
7            Q.       Did you ever hear from anyone that the
8       server, the E.M.S. server was no longer accessible
9       by the password?
10           A.       Fifth Amendment.
11           Q.       Let me ask a better question.                  Before the
12      server was replaced by the State, had you heard at
13      that time that the password was no longer working?
14           A.       Fifth Amendment.
15           Q.       Do you know why the password may have
16      stopped working, assuming that happened?
17           A.       Fifth Amendment.
18           Q.       Do you know whether anyone at the county
19      level has the ability to change the password for
20      the E.M.S. server?
21           A.       Fifth Amendment.
22           Q.       Do you know if anyone ever changed it?
23           A.       Fifth Amendment.
24           Q.       All right.        Turn to the September 7, 2021
25      meeting minutes, please.               So if you come down to

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1       number seven, do you see where it says:
2                     "James Barnes said Beau Roberts
3             from Dominion Voting Systems is
4             looking into the missing mobile ballot
5             printer"?
6                     Do you see that?
7            A.       Yes.
8            Q.       What was that about?
9            A.       I don't recall.
10           Q.       Was there a mobile ballot printer that
11      Coffee County had that had gone missing?
12           A.       I do not recall.
13           Q.       So nothing you remember about this?
14           A.       No, sir.
15           Q.       Why was Beau Roberts of Dominion looking
16      into a missing printer instead of someone on behalf
17      of the county or the state?
18                    MR. DELK:       Object to the form.
19                    THE WITNESS:         I don't know.
20      BY MR. CROSS:
21           Q.       Do you know if it was ever found?
22           A.       I don't know.
23           Q.       All right.        Go to the next month, November
24      9, 2021.       Do you see that?
25           A.       Yes, sir.

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1            Q.       Number nine reads:
2                     "Agent Paul Allen is looking into
3               election fraud that has nothing to do
4               with the board or elections staff."
5                     Do you see that?
6            A.       I do.
7            Q.       Agent Paul Allen, who is that?
8            A.       I don't recall that name.
9            Q.       Do you recall whether he was with the
10      State of Georgia or federal?
11           A.       As I said, I don't recall the name.
12           Q.       You don't recall anything about who he was
13      with?
14           A.       I do not.
15           Q.       What was he looking into with respect to
16      election fraud?
17           A.       I have no idea.
18           Q.       There's nothing you can tell me about this
19      topic?
20           A.       I don't recall any of that.                 I don't
21      recall who Paul Allen is.
22           Q.       If you look at number ten, it reads:
23                    "Eric Chaney notified the board
24              that he had recently moved out of his
25              commissioner's district.

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1                     "Upon further research, he
2             discovered there is no stipulation
3             that Board of Elections and
4             registration members must live in the
5             same district as the person who
6             appointed them.
7                     "He has decided to remain on the
8             board at least two more years."
9                     Do you see that?
10           A.       Yes.
11           Q.       And what was the research that you did at
12      that time?
13                    MR. DELK:       I'll object to the extent
14           it involves any privileged communication
15           with counsel.
16                    But subject to that, you can respond.
17                    THE WITNESS:         I had made Commissioner
18           Dovers aware that I had moved, as I
19           previously stated.             And he said he would
20           be in charge of finding out if I needed to
21           resign or not.
22                    And he got back with me and said that
23           he had gotten with someone in the county,
24           I'm not sure of who, and they had said
25           that I could fulfill the rest of my term

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1            on the board.
2       BY MR. CROSS:
3            Q.       And that was in November of 2021?
4            A.       That's correct.
5            Q.       Do you know who Commissioner Dovers
6       with -- who he spoke with to confirm that you could
7       remain on the board?
8            A.       I do not.
9                     And to clarify this, I told them I was
10      moving out of the district, not moved.
11           Q.       Well, it says here:
12                    "Eric Chaney notified the board
13            that he had recently moved..."
14           A.       Yes.
15           Q.       Right?
16           A.       I said I was going to move, that I was --
17      that is -- I had not formally moved yet.
18           Q.       So you're saying that the meeting minutes
19      are wrong where it says you had already moved?
20           A.       Well, I had not moved as of this date.                      I
21      was planning on moving earlier, but some did --
22      I -- well, you couldn't find furniture and so on
23      and so forth, so it delayed my moving.
24           Q.       Until when?
25           A.       I don't recall the specific date, but it

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1       was after the first of the year.
2            Q.       Sometime early in 2021?
3            A.       I --
4                     MR. DELK:       2022.
5       BY MR. CROSS:
6            Q.       Sorry.      2022.
7                     Sometime in early 2022?
8            A.       Yes.
9            Q.       That's when you moved out of the district?
10           A.       That's correct.
11           Q.       Okay.     But in the meeting on December 7,
12      2021 when you guys approved the meeting minutes,
13      which you seconded, you didn't tell anyone that
14      that was inaccurate; right?
15           A.       I did not.
16           Q.       So in November of last year, you informed
17      the board that you are moving out of the district.
18      Commissioner Dovers says no problem, you can finish
19      out your term for at least two more years.
20                    Right?
21           A.       That was my understanding.
22           Q.       Okay.     And then all of a sudden, out of
23      the blue this past Friday, somebody comes to you
24      and says, well, that's wrong and you now have to
25      resign?

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1            A.       I was called --
2                     MR. DELK:       Objection.         Asked and
3            answered.
4                     THE WITNESS:         I was called and he
5            said that, because of something they -- a
6            law they had found, that I needed to
7            resign.
8       BY MR. CROSS:
9            Q.       Called by whom?
10           A.       Commissioner Dovers.
11           Q.       And what was the law that he had found?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         I don't know.
14      BY MR. CROSS:
15           Q.       You resigned your position without
16      bothering to ask what the law was that they relied
17      on telling you you had to leave?
18           A.       I did.
19           Q.       There's nothing you can tell me about the
20      legal basis for why you left?
21           A.       As I said --
22                    MR. DELK:       Object to the form.             Calls
23           for a legal conclusion.                He's a lay
24           witness.
25                    You can respond.

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1                     THE WITNESS:         I don't have any
2            response.
3       BY MR. CROSS:
4            Q.       Tell me everything about -- well, let's
5       back up.
6                     You got a call from Commissioner Dovers on
7       Friday?
8            A.       That's correct.
9            Q.       Were you expecting a call from him?
10           A.       I was not.
11           Q.       Where were you when he called you?
12           A.       On a lawnmower mowing the grass.
13           Q.       So he called you on your cell?
14           A.       He did.
15           Q.       And what did he say when he called you?
16           A.       As I stated before, that it had been
17      brought to his attention that, in fact, if you
18      moved out of the district into another district,
19      that you could not serve on a board that you were
20      appointed to by the elected commissioner for their
21      district.
22           Q.       And he said that there was some law that
23      they had dug up that said that that's -- that's the
24      rule?
25           A.       That's correct.

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1            Q.       Did you ask him why they didn't find it
2       when they did the research in November of 2021?
3            A.       I mean, I was hot, tired, on a lawnmower,
4       and I wasn't -- I didn't have a lot of appetite for
5       getting into any legal jargon with Commissioner
6       Dovers.       I felt like he knew what he was talking
7       about.      So.
8            Q.       Well, you felt like he knew what he was
9       talking about in November when he gave you the
10      opposite opinion; right?
11                    MR. DELK:       Object to the form.
12      BY MR. CROSS:
13           Q.       Yes?
14           A.       I don't know.
15           Q.       The commissioner called you up out of the
16      blue and said that they were taking the complete
17      opposite position of what he told you they had
18      researched and confirmed almost a year ago, and you
19      had no questions for him about it at all?
20                    MR. DELK:       Object to the form.
21      BY MR. CROSS:
22           Q.       Is that your testimony, sir?
23                    MR. DELK:       Asked and answered.
24           Argumentative.
25                    THE WITNESS:         I've already answered

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1            that.
2       BY MR. CROSS:
3            Q.       You had no questions for him?
4            A.       No questions.
5            Q.       Okay.     And what did you say when he told
6       you that?
7            A.       Okay.
8            Q.       And you hung up?
9            A.       That's pretty much the basis for our
10      conversation.
11           Q.       That was the whole conversation?
12           A.       I didn't say it's the whole conversation.
13      I said that was the basis of our conversation.
14           Q.       What was the rest of the conversation?
15           A.       I don't recall specifically.
16           Q.       Well, tell me what you recall from the
17      conversation you just had on Friday that was
18      important enough that you resigned your position on
19      the board.
20           A.       I already told you.
21           Q.       Tell me the rest of it.
22           A.       I told you.
23           Q.       So the whole conversation was he tells you
24      I was wrong almost a year ago, you have to quit,
25      and you said okay and that was it?

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1            A.       Pretty much.
2            Q.       Okay.     You say "pretty much."               What am I
3       missing?
4                     MR. DELK:       Object to the form.             Asked
5            and answered multiple times.
6                     You can tell him the same thing if
7            you need to.
8                     THE WITNESS:         I've stated what
9            happened.
10      BY MR. CROSS:
11           Q.       What else was said in that call beyond
12      what you've now disclosed?
13           A.       I've disclosed what was said in the call.
14           Q.       So he said one thing, you said one thing,
15      and that was the entirety of the conversation?
16           A.       (Whereupon, there was no audible response
17      by the deponent.)
18                    MR. DELK:       Object to the form.
19      BY MR. CROSS:
20           Q.       "Yes"?
21           A.       Pretty much.
22           Q.       Well, see, you keep hedging.
23                    MR. DELK:       He answered your question.
24      BY MR. CROSS:
25           Q.       You understand you're on video; right?

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1            A.       I do.
2            Q.       You understand that there's a judge that's
3       going to watch that video at some point and assess
4       your credibility; right?
5            A.       I do.
6            Q.       You understand that video may become
7       public?
8            A.       Sure.
9            Q.       Okay.     So I'm going to ask you again, tell
10      me the entirety of the conversation, entirety of
11      what you and Mr. -- Commissioner Dovers talked
12      about on Friday, start to finish.
13                    MR. DELK:       Object to the form.
14                    THE WITNESS:         I've already --
15                    MR. DELK:       Asked and answered.
16                    THE WITNESS:         -- stated that.
17      BY MR. CROSS:
18           Q.       So the entirety of the conversation, not
19      pretty much, not part of it, not some of it, the
20      entirety of the conversation was he called you up,
21      said I was wrong almost a year ago, you now have to
22      leave the board, and you said okay, and that's the
23      whole conversation?
24           A.       That pretty well sums it up.
25           Q.       You seem like you want to keep hedging.

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1            A.       I'm not hedging anything.
2                     MR. DELK:       Object to the form.
3                     You don't have to respond to his
4            argumentative comments.                Wait for a
5            question.
6       BY MR. CROSS:
7            Q.       All right.        And you want us to believe
8       that you leaving the board out of the blue on
9       Friday has nothing to do with this deposition in
10      this case.
11                    MR. DELK:       Object to the form.
12      BY MR. CROSS:
13           Q.       Is that right?
14           A.       No.
15           Q.       You don't want us to believe that?
16           A.       It's inaccurate.           It's not correct.
17           Q.       Okay.     And you leaving the board on Friday
18      had nothing to do with the fact that you let people
19      come in to the elections office on January 7 of
20      2021 and access the voting equipment; is that -- is
21      that your testimony?
22                    MR. DELK:       Object to the form.
23                    THE WITNESS:         I've not let anyone
24           into the elections office.                  I've never had
25           a key to the elections office.

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1       BY MR. CROSS:
2            Q.       Are you testifying that you did not
3       facilitate access to the elections office on
4       January 7, 2021 for individuals to access the
5       voting equipment?
6            A.       Fifth Amendment.
7            Q.       And are you saying that that had nothing
8       to do with the fact that you suddenly left the
9       board on Friday?
10           A.       Fifth Amendment.
11           Q.       There we go.
12                    MR. PICO-PRATS:            Can we go off the
13           record real quick so I can jump to the
14           restroom?
15                    MR. CROSS:         Sure.      Yeah.      Why don't
16           we take a break.             It's a good time.
17                    THE VIDEOGRAPHER:             Okay.      We're going
18           off the record at 11:44.
19                    (Whereupon, a discussion ensued
20             off the record.)
21                    (Whereupon, there was a brief
22             recess.)
23                    THE VIDEOGRAPHER:             We're back on the
24           record at 12:02.
25      BY MR. CROSS:

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1            Q.       Mr. Chaney, the -- sorry, just to go back,
2       just to make sure I understand something, the
3       Coffee County elections supervisor, I think we
4       covered this before, but that person and their
5       assistant reports to the Coffee County board;
6       right?
7            A.       Correct.
8            Q.       So they take -- they take their direction
9       from the board members; is that fair?
10                    MR. DELK:       Object to the form.
11                    You can answer.
12                    THE WITNESS:         Not from the board
13           members, the board.
14      BY MR. CROSS:
15           Q.       From the board?
16           A.       Yes.
17           Q.       Okay.     Do you know Lin Wood?
18           A.       Not personally.
19           Q.       But you -- you've heard of him?
20           A.       Heard the name, yes.
21           Q.       Have you ever met him?
22           A.       I have not.
23           Q.       Has he ever been in the Coffee County
24      election office to your knowledge?
25           A.       Not to my knowledge.

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1              Q.       Do you know Stephanie Lambert?
2              A.       I do not.
3              Q.       Do you know if she's ever been in the
4       Coffee County election office?
5              A.       I do not.
6              Q.       Do you know Sidney Powell?
7              A.       I've heard the name.
8              Q.       Have you met her?
9              A.       I have not.
10             Q.       Do you understand that she represented the
11      Trump campaign in some election litigation?
12             A.       Correct.
13             Q.       Did you ever have any communications with
14      her?
15             A.       I did not.
16             Q.       Has she ever been in the Coffee County
17      election office?
18             A.       Not to my knowledge.
19             Q.       Do you know Patrick Byrne?
20             A.       I do not.
21             Q.       Ever communicated with him?
22             A.       No, sir.
23             Q.       Has he ever been in the Coffee County
24      election office?
25             A.       Not to my knowledge.

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1            Q.       Do you know Ben Cotton?
2            A.       I do not.
3            Q.       Ever communicated with him?
4            A.       Not to my knowledge.
5            Q.       Do you know if he's ever been in the
6       Coffee County election office?
7            A.       Not that I know of.
8            Q.       Do you have any reason to believe that he
9       has been?
10           A.       As I said, I don't know.               I don't know
11      that he has or has not been.
12           Q.       Okay.     Do you know Russell Ramsland?
13           A.       I do not.
14           Q.       Have you ever communicated with him?
15           A.       Not that I'm aware of.
16           Q.       Do you know whether he's ever been in the
17      Coffee County election office?
18           A.       There again, not that I know of.
19           Q.       Do you know Steve Bannon?
20           A.       I've heard the name.
21           Q.       You understand he worked on the Trump
22      campaign; right?
23           A.       I just know the name.              I don't know to
24      what degree.
25           Q.       You don't know whether Steve Bannon worked

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1       on the Trump campaign?
2            A.       I'm not sure.         I think he was something to
3       do with Trump, but I don't know about campaign or
4       whatnot.
5            Q.       Do you know whether he was ever in the
6       Coffee County election office?
7            A.       I do not.
8            Q.       Do you know Doug Franks?
9            A.       I don't.
10           Q.       Do you know whether he was in the Coffee
11      County election office?
12           A.       I don't.
13           Q.       Do you know Cathy Latham?
14           A.       I do.
15           Q.       And she's the former chair of the G.O.P.
16      in Coffee County; right?
17           A.       Yes.
18           Q.       Okay.     Fair to say she's been in the
19      Coffee County election office multiple times;
20      right?
21           A.       I'm not sure how many times, but I'm sure
22      she's been in there.
23           Q.       Well, you've been in that office with her;
24      right?
25           A.       I have seen Cathy in the office, yes.

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1              Q.       Do you know Greg Freemyer?
2              A.       I do not.
3              Q.       Do you know whether he's ever been in the
4       Coffee County election office?
5              A.       I do not.
6              Q.       Do you know the firm Sullivan Strickler?
7              A.       I do not.
8              Q.       Never heard of them?
9              A.       Not that I recall.
10             Q.       I may have asked you this one before.
11      Sorry if I did.             Do you know the name Paul Maggio?
12             A.       I do not.       You've asked that, but I'm
13      not -- I don't -- that name doesn't ring a bell.
14             Q.       So you don't recall ever meeting him at
15      any point?
16             A.       No, sir.
17             Q.       Are you saying you have not met him or you
18      just don't remember one way or the other?
19             A.       I don't recall whether I've met him or
20      not.
21             Q.       Do you know whether Paul Maggio has ever
22      been in the Coffee County election office?
23             A.       I do not.
24             Q.       Do you have any reason to believe he has
25      not been?

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1                     MR. DELK:       Object to the form.
2                     THE WITNESS:         As I said, I'm not sure
3            if he has or has not been.
4       BY MR. CROSS:
5            Q.       Do you know Jenna Ellis?
6            A.       I do not.
7            Q.       Ever communicated with her?
8            A.       No.
9            Q.       Do you know whether she's ever been in the
10      Coffee County election office?
11           A.       I do not.
12           Q.       Do you know Jennifer Jackson?
13           A.       I do not.
14           Q.       Do you know whether she's ever been in the
15      Coffee County election office?
16           A.       I don't.
17           Q.       You said earlier you don't know Scott
18      Hall?
19           A.       I don't.       I -- the name rings a bell from
20      open records requests and so on and so forth, but I
21      don't know him.
22           Q.       So you're only -- but your only
23      familiarity with the name is open records requests
24      that came in to the county while you were on the
25      board?

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1            A.       That's right.
2            Q.       I think you said earlier you're not
3       familiar with Doug Logan?
4            A.       I'm not.
5            Q.       And you don't know whether he's ever been
6       in the Coffee County election office?
7            A.       No, sir.
8            Q.       And you don't know whether Scott Hall's
9       ever been in that office?
10           A.       I'm not sure, no, sir.
11                    (Whereupon, a discussion ensued
12            off the record.)
13                                    (Whereupon, Plaintiff's
14                                      Exhibit 8 was marked for
15                                      identification.)
16      BY MR. CROSS:
17           Q.       Mr. Chaney, I've handed you what's been
18      marked as Exhibit 8.             Just take your time and
19      you're welcome to flip through it, read through it
20      if you need.
21                    (Whereupon, the document was
22            reviewed by the witness.)
23      BY MR. CROSS:
24           Q.       Okay.     So the exhibit -- the E-mails in
25      Exhibit 8 are E-mails that were provided to us by

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1       counsel for Coffee County in response to an open
2       records request.
3                       Do you -- are you aware of that?
4              A.       Yes.
5              Q.       Okay.     And the E-mail at the top of the
6       first page is from Jennifer Herzog on April 12th of
7       2022.        Do you see that?
8              A.       Yes.
9              Q.       And Ms. Herzog is at the firm where
10      Mr. Delk works; right?
11             A.       Correct.
12             Q.       So Ms. Herzog, is it your understanding
13      that she represent -- she's counsel for Coffee
14      County?
15             A.       Yes.
16             Q.       Does she also represent you personally or
17      no?
18             A.       Not that I'm aware of.
19             Q.       Okay.     And so there's an E-mail thread
20      here we're going to talk through here in a little
21      bit.        She forwards that on to Ryan Germany at the
22      Secretary of State's office on April 12th of this
23      year; right?
24             A.       Yes.
25             Q.       And do you know Ryan Germany?

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1            A.       I do not.
2            Q.       Are you aware that he is the general
3       counsel in the Secretary of State's office?
4            A.       I'm not.
5            Q.       Never heard of Ryan German?
6            A.       No, sir.
7            Q.       So you've never spoken with him, never
8       communicated with him; right?
9            A.       No, sir.
10           Q.       And then she copies Anthony Rowell, which
11      is another attorney for Coffee County; right?
12           A.       That's right.
13           Q.       And that's the Tony Rowell we talked about
14      earlier that was in the meeting with Ms. Hampton
15      when she was let go?
16           A.       Right.
17           Q.       Okay.     Now, if we -- if you come to the
18      bottom of the second page of the E-mail thread, or
19      really look in the middle, do you see there's an
20      E-mail from Emma Brown at the Washington Post?
21           A.       I do.
22           Q.       And she sends that E-mail at 5:00 in the
23      morning on April 12th of 2022; right?
24           A.       Yes.
25           Q.       And she sends it to Wesley Vickers at

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1       Coffee County?
2            A.       Yes.
3            Q.       Who's Wesley Vickers?
4            A.       He is the county manager or comptroller, I
5       would -- I would say.              I'm not sure of his exact
6       title, but.
7            Q.       What is his relationship, if any, with the
8       Coffee County Board of Elections?
9            A.       I'm not sure.
10           Q.       And then Ms. Brown also contacted
11      Mr. Rowell and Ms. Herzog.                 Do you see that?
12           A.       I do.
13           Q.       And the subject is Time Sensitive
14      Washington Post Inquiry.               Do you see that?
15           A.       Yes.
16           Q.       And then you see in the first paragraph
17      she writes:
18                    "As you know from my previous
19            inquiries to each of you, I have been
20            reporting on the claim that
21            businessman Scott Hall arranged after
22            the 2020 election to ferry a team of
23            people to Coffee County where he says
24            in a recorded phone call that they
25            made copies of Dominion election

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1              equipment with permission from local
2              elections officials."
3                     Do you see that?
4            A.       I do.
5            Q.       And you were one of the local elections
6       officials that gave permission for that; right?
7                     MR. DELK:         Object to the form.
8                     THE WITNESS:           Fifth Amendment.
9       BY MR. CROSS:
10           Q.       Ms. Brown then goes on:
11                    [As read]         "The County's former
12             election supervisor Misty Hampton
13             (previously Martin) told me that Scott
14             Hall did visit her office with other
15             people after she reached to someone on
16             the 'federal level' seeking help"
17             investigating -- "seeking help
18             investigate the election."
19                    Do you see that?
20           A.       I do.
21           Q.       She then goes on:
22                    "She said she did not remember how
23             many people or who they were or when
24             they visited or what they did.                       She
25             said Eric Chaney was present with her

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1              and she did nothing without his
2              knowledge."
3                     Do you see that?
4            A.       I do.
5            Q.       And that's a true statement, right, that
6       you were present when this happened and you knew
7       what was going on?
8            A.       Fifth Amendment.
9            Q.       Ms. Brown then writes:
10                    "Hampton said the group passed
11             through the locked door between the
12             building foyer and the election
13             department, which she described as an
14             area off limits to the general public
15             but a place where non-county employees
16             such as candidates, anyone seeking to
17             meet with her, even her mother, could
18             go and did go."
19                    Do you see that?
20           A.       I do.
21           Q.       She then goes on:
22                    "She also said that, while she was
23             sure that Hall and the team he brought
24             did not enter a locked room housing
25             the touch screen voting machines, she

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1             did not know whether they entered the
2             room housing the E.M.S. server as that
3             room was often unlocked during the day
4             and she wasn't watching their every
5             move."
6                     Do you see that?
7            A.       I do.
8            Q.       But you are aware that that team did, in
9       fact, enter the room with the E.M.S. server;
10      correct?
11           A.       Fifth Amendment.
12           Q.       You're aware that they connected hard
13      drives to that equipment and copied it; right?
14           A.       Fifth Amendment.
15           Q.       You're aware that they brought in a
16      borrowed scanner and copied cast ballots; right?
17           A.       Fifth Amendment.
18           Q.       You're aware that Cathy Latham provided
19      that scanner; right?
20           A.       Fifth Amendment.
21           Q.       She borrowed that scanner from her church,
22      did she not?
23           A.       Fifth Amendment.
24           Q.       When did she return it to the church?
25           A.       Fifth Amendment.

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1            Q.       So then if we come up, Ms. Herzog sends
2       Ms. Brown's E-mail to you the same day and writes:
3                     "Eric, we received the below
4             correspondence at 5:05 a.m.                   Please
5             give Tony Rowell and myself a call as
6             soon as possible to discuss."
7                     Do you see that?
8            A.       I do.
9            Q.       And then later that afternoon, you write
10      back to Ms. Herzog in an E-mail.                    Do you see that?
11           A.       I do.
12           Q.       And you write:
13                    "I do not know Scott Hall..."
14                    Right?
15           A.       That's correct.
16           Q.       That was a lie; right?
17                    MR. DELK:       Object to the form.
18                    THE WITNESS:         No.
19      BY MR. CROSS:
20           Q.       That was not a lie?
21           A.       That was not a lie.
22           Q.       Okay.     And you write:
23                    "I do not know Scott Hall, and to
24            my knowledge I am not aware of nor was
25            I present at the Coffee County Board

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1             of Elections and registration's office
2             when anyone illegally accessed the
3             server or the room in which it is
4             contained."
5                     Do you see that?
6            A.       I do.
7            Q.       Everything you wrote in that sentence was
8       a lie; right?
9                     MR. DELK:       Object to the form.
10                    THE WITNESS:         Fifth Amendment.
11      BY MR. CROSS:
12           Q.       Is it your position that, when Scott Hall
13      and others came in and accessed the voting
14      equipment in Coffee County in January of 2021, that
15      that was legal?
16           A.       Fifth Amendment.
17           Q.       Do you dispute that it was illegal?
18           A.       Fifth Amendment.
19           Q.       Did the board authorize that?
20           A.       Fifth Amendment.
21           Q.       Did you authorize that?
22           A.       Fifth Amendment.
23           Q.       Did Ms. Hampton authorize that?
24           A.       Fifth Amendment.
25           Q.       If you come down to the middle of your

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1       E-mail, do you see the sentence that begins "I have
2       no knowledge whether"?
3            A.       I do.
4            Q.       And you wrote to Ms. Herzog:
5                     "I have no knowledge whether or
6             not Misty allowed anyone without
7             authorization to access the server
8             room (which remains locked).                   And
9             because of the layout of the elections
10            office, which is very small, you have
11            to walk through Misty's office to
12            access that room.
13                    "Therefore, it is highly unlikely,
14            if not impossible, for her not to know
15            who did or did not enter the server
16            room."
17                    Do you see that?
18           A.       Yes.
19           Q.       You then go on:
20                    "I have no personal knowledge that
21            anyone without authorization accessed
22            the server room..."
23                    Do you see that?
24           A.       Yes.
25           Q.       That was a lie; right?

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1                     MR. DELK:       Object to the form.
2                     THE WITNESS:         No.
3       BY MR. CROSS:
4            Q.       So that's a true statement, that you have
5       no personal knowledge that anyone without
6       authorization accessed the server room?
7            A.       Fifth Amendment.
8            Q.       Well, is it a lie or is it a true
9       statement?
10           A.       Fifth Amendment.
11           Q.       Well, you just said it's not a lie.
12           A.       Fifth Amendment.
13           Q.       Okay.     And you go on in that same sentence
14      to say that you also have no "knowledge of any
15      other statements or allegations in Ms. Brown's
16      letter."
17                    Do you see that?
18           A.       That's correct.
19           Q.       That also was a lie; right?
20           A.       Fifth Amendment.
21                    MR. DELK:       Object to the form.
22      BY MR. CROSS:
23           Q.       And you wrote this E-mail specifically for
24      the purpose of Ms. Herzog providing it as the
25      response to the Washington Post inquiry; right?

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1              A.       Correct.
2              Q.       Did you convey the truth of what happened
3       to your counsel or did you lie to your counsel,
4       too?
5                       MR. DELK:       Object to the form.
6              That's privileged.
7                       THE WITNESS:         Fifth Amendment.
8       BY MR. CROSS:
9              Q.       Why did you write this dishonest E-mail in
10      response to the inquiry from the Washington Post?
11                      MR. DELK:       Object to the form.             Asked
12             and answered.
13                      THE WITNESS:         Fifth Amendment.
14      BY MR. CROSS:
15             Q.       In the days leading up to January 7 of
16      2021, you reached out to Misty Hampton and asked if
17      she'd be willing to work with folks to get access
18      to the voting equipment in her elections office;
19      right?
20                      MR. DELK:       Object to the form.
21                      THE WITNESS:         Fifth Amendment.
22      BY MR. CROSS:
23             Q.       You had multiple conversations with her
24      about that; right?
25             A.       Fifth Amendment.

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1            Q.       You told her specifically that one of
2       those individuals would be a man named Scott Hall;
3       right?
4            A.       Fifth Amendment.
5            Q.       Cathy Latham was one of the key
6       individuals who helped organized this with Scott
7       Hall; right?
8            A.       Fifth Amendment.
9            Q.       You and Ms. Latham worked together to
10      organize this; correct?
11           A.       Fifth Amendment.
12           Q.       On the morning of January 7, 2021, you
13      were aware that Scott Hall and others arrived in
14      the Coffee County election office specifically for
15      the purpose of copying ballots and copying data
16      from the voting equipment; right?
17           A.       Fifth Amendment.
18           Q.       Did you send any text messages about that?
19           A.       Fifth Amendment.
20           Q.       Do you use Signal?
21           A.       Fifth Amendment.
22           Q.       It's incriminating whether you use Signal
23      at all?
24           A.       Fifth Amendment.
25           Q.       I take it you use Signal only to commit

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1       crimes?
2            A.       Fifth Amendment.
3                     MR. DELK:       Object to the form.
4       BY MR. CROSS:
5            Q.       You were in the Coffee County elections
6       office on January 7, 2021 yourself; right?
7            A.       Yes.
8            Q.       Ms. Latham was also there; right?
9            A.       Fifth Amendment.
10           Q.       You were there when Scott Hall walked into
11      the door; right?
12           A.       Fifth Amendment.
13                                    (Whereupon, Plaintiff's
14                                      Exhibit 9 was marked for
15                                      identification.)
16      BY MR. CROSS:
17           Q.       All right.        Mr. Chaney, I've handed you
18      what's been marked as Exhibit 9.                    Take a moment to
19      read through it.           But do you recognize that these
20      are text messages that you exchanged with Misty
21      Hampton?
22                    (Whereupon, the document was
23             reviewed by the witness.)
24                    THE WITNESS:         I recognize this as a
25           text thread, but I'm not -- I mean, I

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1            can't testify to them.
2       BY MR. CROSS:
3            Q.       Text thread with Misty Hampton?
4            A.       Fifth Amendment.
5            Q.       All right.        Do you see at the bottom
6       there's pagination 24 pages, if you look on the
7       bottom right corner?
8            A.       Yes, sir.
9            Q.       Go to Page 12 of 24 in the text thread
10      with Ms. Hampton.            You see the date November 12th,
11      2020 --
12           A.       Yes.
13           Q.       -- 10:08 p.m.?
14                    And she wrote to you:
15                    "Did you like that post?               Was that
16             okay?"
17                    You said:       "I did.       Very good."
18                    She writes:        "Thank you."
19                    Do you see that?
20           A.       I do.
21           Q.       Do you recall what this was about, what
22      this post was about?
23           A.       Fifth Amendment.
24           Q.       Okay.     And then you write back:
25                    "Thanks for your hard work."

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1                     She says:       "Thank you for all your
2              help."
3                     You say:       "It has not gone
4              unnoticed."
5                     She says:       "Thank you."
6                     Do you see that?
7            A.       I do.
8            Q.       And your view was that Ms. Hampton, at
9       least before the issue of the timesheets arose, she
10      did a good job managing the elections office;
11      right?
12           A.       Fifth Amendment.
13           Q.       Whether Ms. Hampton did a good job is
14      potentially incriminating to you?
15                    MR. DELK:       Object to the form.
16                    THE WITNESS:         Fifth Amendment.
17      BY MR. CROSS:
18           Q.       Then in -- just stay with me, because
19      we're going to flip through this.                    Go to Page 13.
20      On November 13, 2020, she sent you a picture of a
21      ballot that had two Q.R. codes.
22                    Do you remember that?
23           A.       Fifth Amendment.
24           Q.       Do you recall during your time as a member
25      of the Coffee County board that the Dominion system

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1       sometimes would generate ballots from the B.M.D.s
2       that had more than one Q.R. code?
3            A.       Fifth Amendment.
4            Q.       Was that an issue that you or anyone in
5       the County to your knowledge raised with the State?
6            A.       Fifth Amendment.
7            Q.       And if you look down at the bottom, she
8       also sent a picture of a ballot that she said was
9       missing some of the races that were supposed to be
10      on that ballot.
11                    Do you see that?
12           A.       I do.
13           Q.       Do you recall that being a concern that
14      you or others had with the -- in Coffee County with
15      the voting system?
16           A.       Fifth Amendment.
17           Q.       Was that a concern that you or others on
18      the board raised with the State?
19           A.       Fifth Amendment.
20           Q.       All right.        Come to November 17.             This is
21      the top of Page 15.             Do you see that?
22           A.       Yes.
23           Q.       And so on November 17, 2020 at 1:55, she
24      sends you a postal -- a U.S. postal receipt.                          Do
25      you see that?

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1            A.       Yes.
2            Q.       What was that for?
3            A.       Fifth Amendment.
4            Q.       Then on November 19, 2020, do you see that
5       you exchanged some texts with her at 5:19 p.m.?
6       Are you with me there?
7            A.       Yes, I'm there.
8            Q.       And then you wrote to her:
9                     "Do you have the election bulletin
10             from the Secretary of State office
11             about how the audit had proved the
12             machines reliable and that Notes
13             should certify the original numbers?"
14                    Do you see that text?
15           A.       I do.
16           Q.       She writes back:
17                    "I will go back on Firefly and
18             find them."
19                    Do you see that?
20           A.       Yes.
21           Q.       And then you respond:
22                    "E-mail them to me, please.
23             Trump's man wants them."
24                    Do you see that?
25           A.       I do.

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1            Q.       Who is Trump's man?
2            A.       Fifth Amendment.
3            Q.       Why did somebody associated with former
4       President Trump want something from Coffee County,
5       Georgia?
6                     MR. DELK:       Object to the form.
7                     THE WITNESS:         Fifth Amendment.
8       BY MR. CROSS:
9            Q.       Do you know the name Jesse Binnall,
10      B-I-N-N-A-L-L?
11           A.       I don't.
12           Q.       Have you ever communicated with him?
13           A.       Not to my knowledge.
14           Q.       Are you aware that he is one of Trump's
15      personal lawyers?
16           A.       I'm not.
17           Q.       So you indicate:
18                    "Trump's man wants them."
19                    She writes:        "Okay."
20                    Then you write:
21                    "They're after the S.O.S. and
22             GOV."
23                    Do you see that?
24           A.       I do.
25           Q.       And you're referring to the Secretary of

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1       State Raffensperger and Governor Kemp; right?
2            A.       Fifth Amendment.
3            Q.       Ms. Hampton responds:
4                     "Good," with four exclamation
5              points.        "I'll help them any way I
6              can."
7                     And then you respond:
8                     "Me, too."
9                     Do you see that?
10           A.       I do.
11           Q.       Why did you have to help Trump's man,
12      whoever that was, go after Secretary Raffensperger
13      and Governor Kemp?
14           A.       Fifth Amendment.
15           Q.       Why did you want to help Trump's man do
16      anything?
17           A.       Fifth Amendment.
18           Q.       Did you believe what you were doing to
19      help Trump's man was a crime?
20           A.       Fifth Amendment.
21           Q.       Do you believe that now?
22           A.       Fifth Amendment.
23           Q.       Is whatever you were doing in this text
24      the subject of any criminal investigation to your
25      knowledge?

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1            A.       Fifth Amendment.
2                     MR. DELK:       Object to the form.
3       BY MR. CROSS:
4            Q.       And then you come down, you see December
5       1st, 2020, 11:10 a.m.?
6            A.       Yes.
7            Q.       And you sent her a screenshot from Amazon.
8       Do you see that?
9            A.       That's correct.
10           Q.       And what you had just purchased on Amazon
11      is a digital voice recorder.                  Do you see that?
12           A.       That's correct.
13           Q.       Why did you purchase a digital voice
14      recorder?
15           A.       We use a recorder in the board meetings to
16      record.       We did have a cassette recorder, but we
17      went to a digital recorder.
18           Q.       And so that was purchased to record the
19      board meetings?
20           A.       That's correct.
21           Q.       And are the board meetings typically
22      recorded in that way?
23           A.       That's correct.
24           Q.       Do you have any reason to believe that
25      those recordings no longer exist?

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1            A.       I'm not sure.
2                     MR. CROSS:        Mr. Delk, since your firm
3            also represents Coffee County, we need
4            those produced, please.
5                     MR. DELK:       We'll take that up
6            following the deposition.
7                     MR. CROSS:        Okay.
8       BY MR. CROSS:
9            Q.       Then if you come to the top of the next
10      page, December 1st, 2020, do you -- sorry, just
11      flip the page.          Or did you already flip?                Oh, yeah,
12      you're there.          I'm sorry.
13                    The top of that page, December 1st, you
14      sent Ms. Hampton contact information for someone
15      named Tyler Harper.             Do you see that?
16                    MR. DELK:       Object to the form.
17                    You can respond.
18                    THE WITNESS:         Which page are you on
19           now?
20      BY MR. CROSS:
21           Q.       Top here.       Do you see Tyler Harper?
22           A.       I do.
23           Q.       Who is Tyler Harper?
24           A.       He's a senator for district eight in
25      Georgia.

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1            Q.       Why did you send Tyler Harper's contact
2       information to Misty Hampton on December 1st of
3       2020?
4            A.       That's not a phone number.
5            Q.       Well, it's a V.C.F.             That's how you
6       forward contact information; right?
7            A.       I'm not sure.
8            Q.       Well, do you know why you would -- why you
9       sent contact information for Tyler Harper to
10      Ms. Hampton?
11           A.       Fifth Amendment.
12           Q.       And she responds:
13                    "Tell me who a good lawyer would
14              be for that."
15                    What was that about?
16           A.       Fifth Amendment.
17           Q.       And in this thread, you say to her:
18                    "Did you get Tyler's contact
19              info?"
20                    She writes:
21                    "Yes, it left him off, but I just
22              did a new one with him in it."
23                    What's she talking about there?
24           A.       Fifth Amendment.
25           Q.       She then writes:

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1                     "Just hope I don't get fired for
2              it.     L.O.L."
3                     You wrote:
4                     "You won't," with an exclamation
5              point.
6                     Do you see that?
7            A.       Fifth Amendment.
8            Q.       What was she doing that might get her
9       fired?
10           A.       Fifth Amendment.
11           Q.       Why were you confident she would not get
12      fired?
13           A.       Fifth Amendment.
14           Q.       Were you confident she would not get fired
15      by virtue of your position on the board?
16           A.       Fifth Amendment.
17           Q.       And then if you come down, still on
18      December 1st of 2020, do you see you sent her a
19      text that says:
20                    "Do you still have those lawyers'
21             E-mails?"
22                    Do you see that?
23           A.       I do.
24           Q.       What lawyers?
25           A.       Fifth Amendment.

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1            Q.       She writes:        "I do."
2                     You write:        "E-mail them in the morning."
3                     What was it you wanted her to E-mail them
4       about?
5            A.       Fifth Amendment.
6            Q.       Then on December 2nd of 2020 at 7:14 p.m.,
7       she writes to you:
8                     "Trump is going to be in Valdosta
9              Sunday afternoon."
10                    Do you see that?
11           A.       I do.
12           Q.       She writes below that:
13                    "So who do we know that can get us
14             Calle of talking to him?"
15                    Do you see that?
16           A.       I do.
17           Q.       And then you write:
18                    "Dominic's buddy.            Russ Goodman."
19                    Right?
20           A.       I do.
21           Q.       Who's Russ Goodman?
22           A.       Fifth Amendment.
23           Q.       Who's Dominic?
24           A.       Fifth Amendment.
25           Q.       Why did you think that Dominic or Russ

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1       Goodman could get any of you guys access to Trump
2       at this time?
3            A.       Fifth Amendment.
4            Q.       So December 4th of 2020, top of the next
5       page, 10:33 a.m., do you see that?
6            A.       Yes.
7            Q.       Ms. Hampton writes to you:
8                     "I am sitting here with Tony
9              Rowell.        And after him looking at the
10             numbers from the recount, he suggests
11             that we do not certify.
12                    "The certification is supposed to
13             be done by noon today.               We have
14             drafted a letter to be sent to the
15             State, so I was going to see if you
16             can sign a letter."
17                    Do you see that?
18           A.       I do.
19           Q.       Then later that day she writes:
20                    "You busy?"
21                    Do you see that?
22           A.       Yes.
23           Q.       Then on December 8, 2020 at 2:36 p.m., she
24      writes:
25                    "Why is he scared?"

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1                      Do you see that?
2              A.      I do.
3              Q.      And you write back:
4                      "Pussy."
5              A.      I do.
6              Q.      Who are you referring to?
7              A.      Fifth Amendment.
8              Q.      Are you referring to Tony Rowell?
9              A.      Fifth Amendment.
10             Q.      She then questions:
11                     "You have a signed copy?"
12                     And you say:            "Yes."
13                     Do you see that?
14             A.      I do.
15             Q.      Signed copy of what?
16             A.      Fifth Amendment.
17             Q.      She then writes:               "Okay."
18                     And you write:              "I want you there."
19                     Right?        Are you with me?
20             A.      I see.
21             Q.      You wanted her where?
22             A.      Fifth Amendment.
23             Q.      What was it you wanted her to do?
24             A.      Fifth Amendment.
25             Q.      She then writes:

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1                     "Good.      Are you going to be here
2              with Ed and Robert Preston?"
3                     Do you see that?
4            A.       I do.
5            Q.       Who's Robert Preston?
6            A.       He is a local journalist that owns Douglas
7       Now -- represents Douglas Now.                   I don't know if he
8       owns it.
9            Q.       Was Robert Preston involved with the
10      YouTube video that we talked about earlier where
11      Ms. Hampton showed how the adjudication system
12      worked, was he involved in that getting on the
13      Internet?
14           A.       Fifth Amendment.
15                    MR. DELK:       Object to the form.
16      BY MR. CROSS:
17           Q.       And Ed, is that Ed Voyles?
18           A.       I don't know.
19           Q.       Well, she wrote she was going to be here
20      with Ed and Robert Preston, and you responded:
21                    "Yes."
22                    Right?
23                    MR. DELK:       Object to the form.
24                    THE WITNESS:         I can't speculate for
25           Misty.

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1       BY MR. CROSS:
2            Q.       No.     I understand that.            But just so we're
3       clear we're reading the same thing, she writes:
4                     "Are you going to be here with Ed
5              and Robert Preston?"
6                     You respond:         "Yes."
7                     Right?
8            A.       That's correct.
9            Q.       Okay.     You didn't ask her who Ed was?
10           A.       I did not.
11           Q.       Well, do you have any reason to think it's
12      someone other than Ed Voyles?
13           A.       There again, I can't speculate on Misty's
14      behalf.
15           Q.       Okay.     Ed Voyles is a former member of the
16      Coffee County elections board; right?
17           A.       He was.
18           Q.       Was he a chairman at one point?
19           A.       I'm not sure.
20           Q.       Ed Voyles was in the election office for
21      some portion of January 7th of 2021 right?
22           A.       Fifth Amendment.
23           Q.       So then on December 8, 2020, later that
24      same day we were just looking at, 9:44 p.m., you
25      wrote to Ms. Hampton:

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1                      "Think we can get James to give a
2              statement?"
3                      Do you see that?
4             A.       I do.
5             Q.       Who is James?
6             A.       Fifth Amendment.
7             Q.       And then she responds:
8                      "No, he does not want to be
9              involved."
10                     You respond:
11                     "That's going to hold us up."
12                     She writes:
13                     "I don't think so.             I really do
14             not know if he is a legal citizen."
15                     Do you see that?
16            A.       I do.
17            Q.       And when you said, "that's going to hold
18      us up," hold what up?
19                     MR. DELK:        Object to the form.
20                     THE WITNESS:          Fifth Amendment.
21      BY MR. CROSS:
22            Q.       Is James, whoever he is, is that a -- is
23      he a legal citizen?
24            A.       Fifth Amendment.
25            Q.       You then write back:

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1                     "All we need is a written
2               statement."
3                     Do you see that?
4            A.       I do.
5            Q.       A written statement for what?
6            A.       Fifth Amendment.
7            Q.       A written statement about what?
8            A.       Fifth Amendment.
9            Q.       A written statement by whom?
10           A.       Fifth Amendment.
11           Q.       What can you tell me about the written
12      statement that you said you needed?
13           A.       Fifth Amendment.
14           Q.       Who was the written statement for?
15           A.       Fifth Amendment.
16           Q.       Then the next day, December 9, 2020, 9:27
17      a.m., you write -- I'm still at the bottom of the
18      page.     I'm sorry.         She -- Ms. Hampton writes:
19                    "Does Wendell think he is going to
20              change the vote to not go tomorrow?"
21                    You write back:
22                    "I'm about to puss this joker
23              off."
24                    Do you see that?
25           A.       I do.

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1            Q.       What was the vote that was being discussed
2       there?
3            A.       Fifth Amendment.
4            Q.       Then on December 10th, 20:20, 4:09 p.m.,
5       she writes to you:
6                     "Dominic is pissed and he is
7              trying to call you."
8                     Do you see that?
9            A.       I do.
10           Q.       The next day at 12:12 p.m., you write:
11                    "Send me T.J.'s number."
12                    Do you see that?
13           A.       I do.
14           Q.       Who is T.J.?
15           A.       I'm not sure.         Fifth Amendment.
16           Q.       And you see she sends you:
17                    "T.J. V.C.F."
18                    Do you see that?
19           A.       Yes.
20           Q.       So as you sit here, you don't know who
21      T.J. was?
22           A.       Fifth Amendment.
23           Q.       All right.        Then come down to the top of
24      the next page.          You see it's dated December 30,
25      2020 at 4:00 p.m.?

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1            A.       Yes, sir.
2            Q.       And there are three screenshots of poll
3       pads, three photos of poll pads that Ms. Hampton
4       sent you.        Do you see that?
5            A.       Yes.
6            Q.       And on the first one she shows that the
7       poll pad is accessing Netflix; right?
8            A.       Yes.
9            Q.       And on the second one, she shows that the
10      poll pad is accessing, what is she -- what is that?
11      Do you know what that is?                Some sort of games?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         I'm not sure.
14      BY MR. CROSS:
15           Q.       One of the things that Ms. Hampton had
16      raised as a concern with you and others was that
17      the poll pads used in Georgia are connected to the
18      Internet; right?
19           A.       That's correct.
20           Q.       And you're aware that -- well, back up.
21                    Ms. Hampton's daughter also worked for the
22      County; right?
23           A.       She did.
24           Q.       She helped with elections?
25           A.       She was employed part-time with the

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1       County.
2            Q.       And you're aware that, during at least one
3       election, Ms. Hampton's daughter was able to use a
4       poll pad to watch Netflix during the election;
5       right?      Ms. Hampton conveyed that to you?
6            A.       Fifth Amendment.
7            Q.       Then if you come down to the bottom,
8       there's still -- just so you can see, we're still
9       on December 30 of 2020.               That spills over to the
10      top of Page 20, and there's an additional photo.
11                    So this is still December 30.                  Do you see
12      that?
13           A.       Yes.
14           Q.       And there's a card game that's depicted on
15      a computer screen in that one; right?
16           A.       Yes.
17           Q.       And here Ms. Hampton wrote to you:
18                    "This is the computer that the
19              I.C.C. scanner is connected to."
20                    Right?
21                    MR. DELK:       Object to the form.
22                    THE WITNESS:         Fifth Amendment.
23      BY MR. CROSS:
24           Q.       And then she sends you another photo.                   Do
25      you see that below?

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1            A.       Yes.
2            Q.       And there she writes:
3                     "This is the E.M.S. server
4              computer."
5                     Do you see that?
6            A.       Fifth Amendment.
7            Q.       Then on December 31 of 2020 at 7:46 p.m.,
8       you wrote to her:
9                     "Did you get the letter sent?"
10                    Do you see that?
11           A.       Yes.
12           Q.       What letter?
13           A.       Fifth Amendment.
14           Q.       Sent to whom?
15           A.       Fifth Amendment.
16           Q.       About what?
17           A.       Fifth Amendment.
18           Q.       For what purpose?
19           A.       Fifth Amendment.
20           Q.       Who wrote it?
21           A.       Fifth Amendment.
22           Q.       What was your involvement?
23           A.       Fifth Amendment.
24           Q.       Who else was involved?
25           A.       Fifth Amendment.

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1            Q.       She responds to you:
2                     "No.     I am going to finish it
3              tomorrow."
4                     Do you see that?
5            A.       I do.
6            Q.       And then you responded with an E-mail
7       address for Preston Haliburton.                   Do you see that?
8            A.       I do.
9            Q.       Why did you give her Preston Haliburton's
10      E-mail address?
11           A.       Fifth Amendment.
12           Q.       Okay.     Are you aware that Mr. Haliburton
13      represents Cathy Latham?
14           A.       Fifth Amendment.
15           Q.       All right.        Come to Page 22 of 24.                If you
16      come down in the middle, do you see there's a text
17      January 6th of 2021 at 4:26 p.m.?
18           A.       I do.
19           Q.       And on that day, Ms. Hampton wrote to you:
20                    "Scott Hall is on the phone with
21             Cathy about wanting to come scan our
22             ballots from the general election like
23             we talked about the other day.                   I am
24             going to call you in a few."
25                    Do you see that?

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1            A.       I do.
2            Q.       "Cathy" refers to Cathy Latham; right?
3            A.       Fifth Amendment.
4            Q.       So you were aware, at least as of January
5       6th of 2021, that Scott Hall was coming in to the
6       Coffee County election office at least to access a
7       copy, to scan ballots; right?
8            A.       Fifth Amendment.
9            Q.       So when you testified earlier that your
10      only familiarity with Scott Hall was through an
11      open records request, that was a lie; right, sir?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         Fifth Amendment.
14      BY MR. CROSS:
15           Q.       Are you aware that lying under oath is a
16      felony?
17           A.       Fifth Amendment.
18           Q.       Do you know who Javier represents?
19           A.       I do.
20           Q.       The Secretary of State's office; right?
21           A.       I do.
22           Q.       Do you understand the Secretary of State's
23      office has a lawyer sitting in this room in which
24      you just lied?
25                    MR. DELK:       Object to the form.

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1       BY MR. CROSS:
2            Q.       Right?
3            A.       Fifth Amendment.
4            Q.       She then writes back later that same day,
5       8:54 p.m.:
6                     "I found out tonight that there is
7              another way to change the ballots in
8              R.T.R."
9                     Do you see that?
10           A.       I do.
11           Q.       What's R.T.R.?
12           A.       I don't know.
13           Q.       And you write back:             "What?"
14                    She writes:        "Yelp."
15                    You say:       "How?"
16                    She says:       "I found a manual on Dominion."
17                    And then you say:            "Wow."
18                    Do you see that?
19                    MR. DELK:       Object to the form.
20                    THE WITNESS:         I do.
21      BY MR. CROSS:
22           Q.       What was this other way to change ballots?
23           A.       I'm not sure.
24           Q.       Then on January 7, 2021, 10:18 a.m., she
25      writes to you:

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1                     "Hey, are you coming to the
2              office?        I need a board member to be
3              here when we transfer ballots."
4                     Do you see that?
5            A.       I do.
6            Q.       Why did a board member need to be there to
7       transfer ballots?
8            A.       Fifth Amendment.
9            Q.       And by "transfer ballots," she's talking
10      about copying the ballots for Scott Hall and
11      others; right?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         Fifth Amendment.
14      BY MR. CROSS:
15           Q.       And you wrote:
16                    "I'll be there at 11:00."
17                    Right?
18           A.       I did.
19           Q.       And you don't dispute that you were in the
20      Coffee County election office on January 7, 2021;
21      right?
22           A.       Fifth Amendment.
23           Q.       And when you were in the office that day,
24      you saw Scott Hall come in with others right?
25           A.       Fifth Amendment.

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1            Q.       And you don't dispute that Ms. Latham was
2       in the office that day; right?
3            A.       Fifth Amendment.
4                     (Whereupon, Ms. Curling joined the
5              deposition.)
6       BY MR. CROSS:
7            Q.       You don't dispute that Jil Ridlehoover was
8       in the office that day; right?
9            A.       Fifth Amendment.
10           Q.       If you come to the top of the next page,
11      January 7 of 2021 at 7:24 p.m., you send a phone
12      number to Ms. Hampton.
13                    Do you see that?
14           A.       I do.
15           Q.       Whose phone number is that?
16           A.       I don't know.
17           Q.       Why did you send her that number?
18           A.       I don't know.
19           Q.       Nothing you can tell me about that phone
20      number?
21           A.       Fifth Amendment.
22           Q.       That phone number is for Robert Sinners,
23      S-I-N-N-E-R-S; right?
24           A.       I'm not sure.
25           Q.       You sent a phone number to Ms. Hampton on

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1       January 7, 2021 and you have no idea whose number
2       it is?
3            A.       Fifth Amendment.
4            Q.       I'm going to ask you again, Mr. Chaney.
5       You are aware that that phone number is registered
6       to Robert Sinners; right?
7            A.       Fifth Amendment.
8                     MR. DELK:       Object to the form.
9       BY MR. CROSS:
10           Q.       What was Mr. Sinners' involvement in a
11      team coming into the Coffee County elections office
12      on January 7, 2021 to copy ballots and copy
13      proprietary data off of the Dominion voting
14      equipment?
15                    MR. DELK:       Object to the form.
16                    THE WITNESS:         Fifth Amendment.
17      BY MR. CROSS:
18           Q.       Did you personally communicate with
19      Mr. Sinners?
20           A.       Fifth Amendment.
21           Q.       Were you asking Ms. Hampton to communicate
22      with Mr. Sinners about those events?
23           A.       Fifth Amendment.
24           Q.       Who in the Secretary of State's office to
25      your knowledge was aware of what happened on

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1       January 7th, 2021 involving Mr. Hall and Mr. Maggio
2       and others?
3              A.       Fifth Amendment.
4                       MR. DELK:       Object to the form.
5       BY MR. CROSS:
6              Q.       When did they become aware?
7              A.       Fifth Amendment.
8              Q.       Immediately after you send her this phone
9       number, you write to her:
10                      "Let's switch to Signal."
11                      Right?
12             A.       Fifth Amendment.
13             Q.       Well, it's written here in front of us.                     I
14      mean, we can get that much right.                      You wrote to
15      her:
16                      "Let's switch to Signal."
17                      Right?
18                      MR. DELK:       Object to the form.             Asked
19             and answered.
20                      THE WITNESS:         Fifth Amendment.
21      BY MR. CROSS:
22             Q.       You wanted to switch to Signal because you
23      wanted to make sure you could delete the messages
24      you guys were exchanging; right?
25             A.       Fifth Amendment.

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1            Q.       Maybe if you'd thought of that sooner, we
2       wouldn't have all these texts, would we?
3            A.       Fifth Amendment.
4                     MR. DELK:       Object to the form.
5       BY MR. CROSS:
6            Q.       Thought of it a little bit too late.
7                     MR. DELK:       Argumentative.
8                     Don't -- you don't have to respond.
9            That's not even a question.
10      BY MR. CROSS:
11           Q.       I gathered from going through the document
12      requests earlier where you wrote "denied" that you
13      have no responsive Signal messages to produce to
14      us; is that right?
15           A.       Fifth Amendment.
16           Q.       In fact, you've recently told people
17      associated with the Coffee County board that you
18      deleted those messages; right?
19                    MR. DELK:       Object to the form.
20                    THE WITNESS:         Fifth Amendment.
21      BY MR. CROSS:
22           Q.       On January 8th of 2021 at 11:52 a.m., she
23      writes to you:
24                    "Did you check Signal?"
25                    Right?

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1            A.       That's right.
2            Q.       And then she says:
3                     "Call you in just a minute."
4                     Do you recall, do you remember talking to
5       her that morning?
6            A.       Fifth Amendment.
7            Q.       The team of individuals who came in to
8       copy ballots and the voting equipment, they were
9       still in the office doing that on January 8th
10      right?
11           A.       Fifth Amendment.
12           Q.       On January 12th of 2021 at 2:56 p.m., she
13      sends you a handwritten note with the name Bob and
14      then Chris Linscheid, L-I-N-S-C-H-E-I-D.
15                    Do you see that?
16           A.       I do.
17           Q.       Who is Chris Linscheid?
18           A.       I don't know.
19           Q.       And she includes a phone number.                   Do you
20      see that?
21           A.       I do.
22           Q.       Why did she send you those?
23           A.       I don't know.
24                    MR. DELK:       Object to the form.
25      BY MR. CROSS:

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1            Q.       Nothing you can tell me about that?
2            A.       Fifth Amendment.
3            Q.       Did you ever communicate with Chris
4       Linscheid?
5            A.       Fifth Amendment.
6            Q.       Did you ever call that number?
7            A.       Fifth Amendment.
8            Q.       Do you know if those individuals are
9       involved in copying ballots and voting equipment in
10      Coffee County?
11                    MR. DELK:       Object to the form.
12                    THE WITNESS:         Fifth Amendment.
13      BY MR. CROSS:
14           Q.       On January 15, 2021 at 5:08 p.m., she
15      wrote to you:
16                    "Do you have Snapchat?              Signal is
17             down," with an exclamation point.
18                    Do you see that?
19           A.       I do.
20           Q.       Did you use Snapchat?
21           A.       Fifth Amendment.
22           Q.       Did you communicate with her or others on
23      Snapchat about individuals copying ballots and
24      voting equipment?
25           A.       Fifth Amendment.

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1            Q.       She then writes to you on January 19, 2021
2       at 10:35 a.m.:
3                     [As read]       "If you happen to be in
4              town, the guys measuring my desk are
5              still" there -- "are still here."
6                     Do you see that?
7            A.       I do.
8            Q.       That was a code that you and Ms. Hampton
9       worked out regarding individuals being in the
10      office copying voting equipment; right?
11                    MR. DELK:       Object to the form.
12                    THE WITNESS:         Fifth Amendment.
13      BY MR. CROSS:
14           Q.       There was no one there actually measuring
15      her desk; isn't that right?
16           A.       Fifth Amendment.
17           Q.       Because not only did individuals copy
18      voting equipment on January 7, but they came back,
19      some of the same people and some different people
20      came back on the 19th to do some additional
21      copying; right?
22                    MR. DELK:       Object to the form.
23                    THE WITNESS:         Fifth Amendment.
24      BY MR. CROSS:
25           Q.       Doug Logan was there on January 19, wasn't

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1       he?
2             A.       Fifth Amendment.
3             Q.       Did you guys agree to use code "measuring
4       my desk" to hope that it would conceal that what
5       you were doing was criminal?
6                      MR. DELK:       Object to the form.
7                      THE WITNESS:         Fifth Amendment.
8       BY MR. CROSS:
9             Q.       Then the next day on January 20, 2021,
10      6:47 p.m., she writes:
11                     "Do you have a high capacity
12             scanner in your office?"
13                     Do you see that?
14            A.       What's the date again?
15            Q.       January 20, 2021, 6:47 p.m.
16            A.       I do.
17            Q.       And she was asking you for the scanner
18      because she was still scanning ballots from the
19      November 2020 election for this team of
20      individuals; right?
21                     MR. DELK:       Object to the form.
22                     THE WITNESS:         Fifth Amendment.
23      BY MR. CROSS:
24            Q.       You're aware that Misty Hampton helped
25      scan ballots from the November 2020 election from

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1       January 7 of 2021 until January 27th of 2021?
2                       MR. DELK:       Object to the form.
3                       THE WITNESS:         Fifth Amendment.
4       BY MR. CROSS:
5              Q.       Some of those ballots were scanned on this
6       scanner that Ms. Latham provided from her church;
7       right?
8              A.       Fifth Amendment.
9              Q.       Did you provide her a high pass -- high
10      capacity scanner for that purpose?
11             A.       Fifth Amendment.
12             Q.       If you come down, you'll see on January
13      7th -- January 27, 2021 at 9:23 a.m., she writes to
14      you:
15                      "I took care of the people
16              measuring my desk."
17                      Do you see that?
18             A.       I do.
19             Q.       That was her way of letting you know that
20      she had sent the ballots on a flash drive; right?
21                      MR. DELK:       Object to the form.
22                      THE WITNESS:         Fifth Amendment.
23      BY MR. CROSS:
24             Q.       Where did she send those ballots?
25             A.       Fifth Amendment.

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1             Q.      Were you the one who told her where to
2       send those ballots?
3             A.      Fifth Amendment.
4             Q.      Who wanted the ballots?
5             A.      Fifth Amendment.
6             Q.      Why did they want them?
7             A.      Fifth Amendment.
8             Q.      Were any of the ballots or other
9       information that was taken from the voting
10      equipment in Coffee County provided to Robert
11      Sinners?
12            A.      Fifth Amendment.
13            Q.      Turn to the last page.                  Do you see on
14      February 27, 2021, 9:00 a.m., you wrote to her:
15                    "You're welcome.              I wish you the
16              best.      Use your knowledge to get
17              ahead"?
18                    Do you see that?
19            A.      I do.
20            Q.      And she writes:
21                    "T.J. is coming Wednesday to have
22              lunch and meet some people if you
23              would like to join."
24                    You respond:
25                    "Okay.       If I'm in town, I'll try

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1              to come."
2                      Do you see that?
3             A.       I do.
4             Q.       Who is T.J.?
5             A.       I do not recall.
6             Q.       When you referred earlier to "Trump's
7       man," were you referring to Robert Sinners?
8             A.       Fifth Amendment.
9                                        (Whereupon, Plaintiff's
10                                         Exhibit 10 was marked for
11                                         identification.)
12      BY MR. CROSS:
13            Q.       All right.          Let me hand you what's been
14      marked as Exhibit 10.                 Take your time to read
15      through it for a moment if you need to.
16                     MR. BROWN:          This is Bruce Brown.                I
17            did not catch the answer to the last
18            question as to whether Sinners was Trump's
19            man referenced in the prior text.                         I just
20            did not hear the -- if he answered it or
21            not.
22                     MR. CROSS:          I think it was "Fifth
23            Amendment," but Debra can confirm.
24                     Yeah.       Yeah.
25                     MR. BROWN:          Thank you very much.

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1            Sorry for the interruption.
2                     (Whereupon, the document was
3              reviewed by the witness.)
4                     THE WITNESS:         Okay.
5       BY MR. CROSS:
6            Q.       So have you had a chance to flip through
7       Exhibit 10?
8            A.       Yes.
9            Q.       Have you seen this before?
10           A.       I have not.
11           Q.       Okay.     All right.         So let's talk a little
12      bit about this.           Come to -- the E-mails work from
13      the back to the front in chronological order like
14      most do.       Come to three pages from the end.                      You'll
15      see a November 30, 2020 E-mail at 7:10 p.m. from
16      Jim Penrose, bottom of the right-hand page.
17                    MR. DELK:       When you say the page, are
18           you talking about whole pages?                    Because
19           they're front and back copied.
20                    MR. CROSS:        Yeah.      Yeah.
21                    MR. DELK:       What was the date and time
22           again?
23                    MR. CROSS:        November 30, 2020.
24                    MR. DELK:       Okay.
25      BY MR. CROSS:

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1             Q.       So Jim Penrose at                                 sends an
2       E-mail addressed to Paul and Greg.                       Do you see
3       that?
4             A.       Yes.
5             Q.       And do you know Jim Penrose?
6             A.       I do not.
7             Q.       Never communicated with him?
8             A.       No, sir.
9             Q.       He writes to Paul and Greg:
10                     "Thanks so much for jumping onto
11              this opportunity in Nevada.                   I am
12              connecting you with the lead attorney
13              in Nevada, Jesse Binnall, along with
14              Brian Kennedy," there's a phone
15              number, "to ensure we get the
16              engagement letter in place for
17              tomorrow's forensic activities."
18                     Do you see that?
19            A.       Yes.
20            Q.       It goes on on the top of the next page:
21                     "From our side, Doug Logan will be
22              joining you and flying out there with
23              you.      Your P.O.C. on the ground Nevada
24              is Todd from our team."
25                     Do you see that?

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1            A.       I do.
2            Q.       And then if you come down, it says:
3                     "Todd, the Sullivan Strickler
4               P.O.C. for the flight is Paul Maggio.
5               The Sullivan Strickler team lead is
6               Greg Freemyer."
7                     Do you see that?
8            A.       Yes.
9            Q.       Do you know what this is about?
10           A.       I do not.
11           Q.       Okay.     If you come up, Jesse Binnall from
12      Harvey Binnall responds to that E-mail on November
13      30, 2020.        Do you see that?           Middle of the previous
14      page.
15           A.       This next page?
16           Q.       Go back, here.
17           A.       Okay.
18           Q.       And if you look at this E-mail,
19      Mr. Binnall writes to Jim Penrose.                     Do you see
20      that?
21           A.       Yes.
22           Q.       And then included and copied, do you see
23      Abigail Frye from the same firm as Mr. Binnall?
24           A.       I do.
25           Q.       Then there's B-R-I-T-R-A-V at

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1                             .   Do you see that?
2            A.       I do.
3            Q.       Do you know who that is?
4            A.       I don't.
5            Q.       Then you see there's an E-mail for Doug
6       Logan?
7            A.       Yes.
8            Q.       An E-mail for Greg Freemyer at Sullivan
9       Strickler?
10           A.       Uh-huh.
11           Q.       "Yes"?
12           A.       I do.
13           Q.       And then we see Lin Wood; right?
14           A.       That's right.
15           Q.       Then we see Paul Maggio; right?
16           A.       Yes.
17           Q.       Phil Waldron at                              , do you see
18      that?
19           A.       Yes.
20           Q.       Then Sidney Powell at                                       ,
21      do you see that?
22           A.       Yes.
23           Q.       And you see the subject line of the E-mail
24      here is Urgent in all caps, Nevada Forensics
25      Engagement?

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1            A.       I do.
2            Q.       All right.        So come up now, the next
3       E-mail at the bottom of the previous page is from
4       Greg Freemyer at Sullivan Strickler, on November
5       30, 2022 -- sorry, 2020 at 11:57 p.m.
6                     Do you see that?
7            A.       I do.
8            Q.       And then come up, the next E-mail we see
9       is on December 1st of 2020 at 4:09 a.m. from Paul
10      Maggio.       Are you with me?
11           A.       I do.
12           Q.       And he writes:
13                    "Attached is the engagement
14             agreement for the Nevada work as well
15             as the possible Georgia work."
16                    Do you see that?
17           A.       I do.
18           Q.       Do you know what that's about?
19           A.       I don't.
20           Q.       All right.        Come to -- I'm sorry.                 They're
21      not numbered.          It would be a lot easier.                But flip
22      four pages, like, whole pages in to the document
23      from the front and you'll see an E-mail from Jesse
24      Binnall on December 5th of 2020.
25                    Yeah.     Yeah.      So here on December 5th of

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1       2020, Jesse Binnall writes to Paul Maggio and some
2       other individuals.            Are you with me?
3            A.       Yes.
4            Q.       And he writes:
5                     "I don't have any authority
6              regarding Michigan.             Who is your
7              campaign contact there?"
8                     Do you see that?
9            A.       I do.
10           Q.       Do you know whether "campaign" refers to
11      the Trump campaign?
12           A.       I don't.
13                    MR. DELK:       Object to the form.
14      BY MR. CROSS:
15           Q.       And Mr. Binnall is responding to an E-mail
16      on December 5th, 2020 at 6:32 p.m. from Paul
17      Maggio.       Do you see that immediately below?
18           A.       Yes.
19           Q.       And Mr. Maggio wrote to Jesse Binnall:
20                    "Good evening.          The Sullivan
21             Strickler team has arrived in Antrim
22             County, Michigan and will be on-site
23             at 9:00 a.m. tomorrow."
24                    Do you see that?
25           A.       I do.

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1            Q.       And you're aware that there is evidence
2       that individuals went in and copied, had access to
3       voting equipment in Antrim County, Michigan on or
4       around this time?
5            A.       I'm not.
6            Q.       And below that it also says:
7                     "It is our assumption that we will
8              be working under our existing
9              agreement and maintain the same daily
10             rate/conditions of the signed document
11             for Nevada."
12                    Do you see that?
13           A.       I do.
14           Q.       So what we have here are E-mails produced
15      by Mr. Maggio indicating that his firm, Sullivan
16      Strickler, was engaged to do forensic work on
17      voting equipment in Antrim County, Michigan;
18      Nevada; and possibly Georgia.
19                    Are you with me?
20           A.       Okay.
21           Q.       And do you still maintain that you don't
22      know who Paul Maggio is?
23           A.       That's correct.
24           Q.       Okay.     Are you familiar with the R.I.C.O.
25      statute?

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1            A.       I'm not.
2            Q.       Do you know what a R.I.C.O. crime is?
3            A.       Fifth Amendment.
4            Q.       So then if you come forward in the next
5       page, do you see the December 6th, 2020 E-mail from
6       Paul Maggio?
7            A.       I do.
8            Q.       Right here.        This side.
9            A.       Okay.
10           Q.       And here he writes:
11                    "Since we have already begun work
12             in Antrim County, Michigan, it would
13             be best for all parties if we have a
14             signed agreement in place.                 Attached
15             is an engagement agreement."
16                    Do you see that?
17           A.       Yes.
18           Q.       Then Jim Penrose responds to that, look at
19      the bottom of the next page, December 6th, 2020 at
20      1:49 p.m. -- sorry, going in that direction.
21                    Do you see that bottom over here?
22           A.       Okay.
23           Q.       Mr. Penrose responds to Paul Maggio,
24      including Sidney Powell and Doug Logan.                       Do you see
25      that at the bottom?

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1            A.       I do.
2            Q.       And Mr. Penrose writes:
3                     "Here is the signed E.L. from
4              Sidney Powell, Defending the
5              Republic."
6                     Do you see that?
7            A.       I do.
8            Q.       Next paragraph:
9                     "Please do not communicate about
10             any additional forensics work in
11             Arizona to the other legal teams.
12             Keep that in confidential channels
13             with me, Sidney and Doug only."
14                    Do you see that?
15           A.       I do.
16           Q.       And do I understand correctly, you
17      maintain you've never communicated with Sidney
18      Powell?
19           A.       That's correct.
20           Q.       Never communicated with Doug Logan?
21           A.       That's correct.
22           Q.       Were you aware that they were involved in
23      an effort to access voting equipment in states
24      around the country?
25           A.       Fifth Amendment.

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1            Q.       Were you aware that they were involved in
2       efforts to access voting equipment in Coffee County
3       in or around January of 2021?
4            A.       Fifth Amendment.
5            Q.       All right.        Flip another page ahead.              Do
6       you see in the middle of the page an E-mail from
7       Paul Maggio on December 8th of 2020?
8                     MR. DELK:       What time?
9                     MR. CROSS:        3:52 p.m., here.
10                    MR. DELK:       Okay.
11                    THE WITNESS:         I do.
12      BY MR. CROSS:
13           Q.       And here Mr. Maggio writes:
14                    "Jim, per our discussion, we will
15             upload the system files from the
16             election management server collected
17             from Antrim County, Michigan to a
18             secure Sharefile site."
19                    Do you see that?
20           A.       I do.
21           Q.       Were you aware that Mr. Maggio's firm had
22      taken files from an election management server in
23      Antrim County?
24           A.       I was not.
25           Q.       Were you aware that they put them on the

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1       Internet?
2              A.       No.
3              Q.       Were you aware that they took the data
4       from Coffee County that they copied on January 7
5       and January 8, maybe January 19, put that on the
6       Internet as well?
7              A.       Fifth Amendment.
8              Q.       Sidney Powell responds, if you come up, on
9       December 8 -- up here.                It should be up there.
10      Yep.
11                      Hold on.       Are we on the same page?
12                      MR. DELK:       What's the time and date?
13      BY MR. CROSS:
14             Q.       Yeah, here.        Sidney Powell responds to the
15      December 8 E-mail from Paul Maggio we just looked
16      at, she responds the same day at 4:01 p.m.
17                      Do you see that?
18             A.       I do.
19             Q.       And she writes:
20                      "Nevada must be paid by the
21              campaign."
22                      Do you see that?
23             A.       I do.
24             Q.       Do you know whether that refers to the
25      Trump campaign?

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1            A.       I do not.
2            Q.       She also indicates:
3                     "I have seen none of that
4              information.          I am authorizing payment
5              today for Michigan."
6                     Do you see that?
7            A.       I do.
8            Q.       Do you know whether the Trump campaign
9       paid for the individuals who went in to Coffee
10      County on or around January 7, 2021 to copy ballots
11      and copy the voting equipment there?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         Fifth Amendment.
14      BY MR. CROSS:
15           Q.       Then if you come to -- keep going forward,
16      you see an E-mail at the bottom here from Sidney
17      Powell on December 21 of 2020?
18           A.       I do.
19           Q.       And she writes to Paul Maggio and others.
20      Do you see that?
21           A.       Yes.
22           Q.       You see Doug Logan's on that as well?
23           A.       Yes.
24           Q.       And someone Tricia at                                       .
25      Do you see that?

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1            A.       I do.
2            Q.       And here she writes:
3                     "Copying Tricia with instructions
4              to transfer money promptly with
5              understanding that I and Phil Waldron
6              and Todd and Conan will receive a copy
7              of all data immediately and have
8              access to all information needed
9              immediately to complete their
10             assessment.         And a complete copy of
11             all analysis you do is to be given to
12             us as well."
13                    Do you see that?
14           A.       I do.
15           Q.       Do you know Phil Waldron?
16           A.       I do not.
17           Q.       Ever communicated with him?
18           A.       Not to my knowledge.
19           Q.       Do you know who Todd is here?
20           A.       I do not.
21           Q.       Do you know who Conan is here?
22           A.       I do not.
23           Q.       Were you aware that, when you helped give
24      access to Scott Hall, Paul Maggio and others on
25      January 7th, 2021 into Coffee County, that that was

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1       part of a broader initiative to breach voting
2       equipment across the country?
3             A.       Fifth --
4                      MR. DELK:        Object to the form.
5                      THE WITNESS:          Fifth Amendment.
6       BY MR. CROSS:
7             Q.       All right.         Now come to the top of this
8       page.       You're there.          Do you see the E-mail still
9       in the same thread, Paul Maggio writes on January
10      7, 2021 to Sidney Powell.
11                     Do you see that?
12            A.       I do.
13            Q.       10:31 a.m.; right?
14            A.       Yes.
15            Q.       Doug Logan's included on that; right?
16            A.       Yes.
17            Q.       Jim Penrose is on that; right?
18            A.       That's right.
19            Q.       And the subject line now says Coffee
20      County, Georgia Forensics Engagement Agreement.
21      Are you with me?
22            A.       Yes.
23            Q.       And Mr. Maggio writes to Sidney Powell:
24                     "Per Jim Penrose's request, we are
25              on our way to Coffee County, Georgia

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1               to collect what we can from the
2               election/voting machines and systems."
3                     Do you see that?
4            A.       I do.
5            Q.       And you see in the next sentence he
6       indicates that they are doing this "per our
7       existing agreement."             Do you see that?
8            A.       I do.
9            Q.       And do you still maintain that you don't
10      know Paul Maggio and he wasn't in the office that
11      day when you were there January 7 of 2021?
12           A.       Fifth Amendment.
13           Q.       Now come to the first page.                 Later that
14      same day, January 7, 2021, Paul Maggio E-mails
15      Sidney Powell and others at 4:10 p.m.                      Do you see
16      that?
17           A.       Yes.
18           Q.       And he writes:
19                    "Everything is going well here in
20              Coffee County, Georgia."
21                    Do you see that?
22           A.       I do.
23           Q.       And everything went well in Coffee County,
24      Georgia because you and Ms. Hampton were there to
25      help; right?

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1                     MR. DELK:       Object to the form.
2                     THE WITNESS:         Fifth Amendment.
3       BY MR. CROSS:
4            Q.       You organized their trip with Ms. Hampton;
5       right?
6                     MR. DELK:       Object to the form.
7                     THE WITNESS:         Fifth Amendment.
8       BY MR. CROSS:
9            Q.       You organized their trip to Coffee County
10      with Ms. Latham; right?
11           A.       Fifth Amendment.
12           Q.       Who else did you organize it with?
13           A.       Fifth Amendment.
14           Q.       Then on January 8, 2021, the most recent
15      E-mail is from Paul Maggio to Sidney Powell and
16      others at 3:48 p.m.             Do you see that?
17           A.       I do.
18           Q.       So we're on January 8, 2021, and
19      Mr. Maggio writes:
20                    "Sidney, everything went smoothly
21             yesterday with the Coffee County
22             collection.         Everyone involved was
23             extremely helpful."
24                    Do you see that?
25           A.       I do.

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1            Q.       That included you; right?
2                     MR. DELK:       Object to the form.
3                     THE WITNESS:         Fifth Amendment.
4       BY MR. CROSS:
5            Q.       He then writes:
6                     "We are consolidating all of the
7              data collected and will be uploading
8              it to our secure site for access by
9              your team."
10                    Do you see that?
11           A.       I do.
12           Q.       Were you aware at the time that you let
13      these people come in to collect data that they were
14      going to put it on the Internet?
15           A.       Fifth Amendment.
16           Q.       Do you think that's a secure way to manage
17      a voting system?
18           A.       Fifth Amendment.
19           Q.       Do you have any concerns about what that
20      means for the reliability of the voting system
21      going forward?
22           A.       Fifth Amendment.
23           Q.       Did you think what you were doing was
24      legal?
25           A.       Fifth Amendment.

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1            Q.       Did you think you were helping the
2       republic?
3            A.       Fifth Amendment.
4            Q.       Do you think you were serving your duty
5       under the Constitution?
6            A.       Fifth Amendment.
7            Q.       Or were you doing it for the money?
8            A.       Fifth Amendment.
9            Q.       Did you get paid?
10           A.       Fifth Amendment.
11           Q.       Did you receive anything of value in
12      exchange for letting folks in to the Coffee County
13      office to do this?
14           A.       Fifth Amendment.
15                    MR. DELK:       Object to the form.
16      BY MR. CROSS:
17           Q.       Turn to the very last page of this
18      document, please.            Do you see there's an invoice
19      here from Sullivan Strickler?
20           A.       I do.
21           Q.       And you see it's billed to Sidney Powell.
22      Do you see that?
23           A.       I do.
24           Q.       And you see it's dated January 7 of 2021;
25      right?

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1            A.       I do.
2            Q.       And under Client/Matter, do you see it
3       says Voting Machines Analysis?
4            A.       I do.
5            Q.       And then below Activity, there's a date of
6       January 7, 2021 for the first entry.                      Do you see
7       that?
8            A.       I do.
9            Q.       And the activity is described as
10      forensics, colon, forensic expert daily rate;
11      right?
12           A.       That's right.
13           Q.       And then for the date of January 7, 2021,
14      it says:
15                    "On-site Coffee County, Georgia.
16              Four people times one day."
17                    Right?
18           A.       Correct.
19           Q.       Who were the four people that came in to
20      the Coffee County elections office for collection
21      when you were there that day?
22                    MR. DELK:       Object to the form.
23                    THE WITNESS:         Fifth Amendment.
24      BY MR. CROSS:
25           Q.       And then there's a second entry that says

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1       Forensics Travel.            Do you see that?
2            A.       I do.
3            Q.       Mileage, 394 miles round trip Atlanta,
4       Georgia to Douglas, Georgia.                  Do you see that?
5            A.       I do.
6            Q.       And there's a charge of 220 dollars and 64
7       cents just for the travel; right?
8            A.       I see that.
9            Q.       The forensics work, the bill is
10      26,000 dollars; right?
11           A.       Right.
12           Q.       And so do you still maintain that you
13      don't know anything about what happened on January
14      7th of 2021 even though we've got a bill for over
15      26,000 dollars for Sullivan Strickler coming in to
16      do forensics copying of the voting equipment in
17      Georgia?
18                    MR. DELK:       Object to the form.
19                    THE WITNESS:         Fifth Amendment.
20      BY MR. CROSS:
21           Q.       The truth is, Mr. Chaney, that the E-mail
22      that you sent Ms. Herzog in response to the
23      Washington Post inquiry was a lie, and you knew all
24      about what happened on January 7th, 2021; right?
25                    MR. DELK:       Object to the form.

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1                     THE WITNESS:         Fifth Amendment.
2       BY MR. CROSS:
3            Q.       You know all about what they did on
4       January 8th; right?
5            A.       Fifth Amendment.
6            Q.       You know what they did on January 19;
7       right?
8            A.       Fifth Amendment.
9            Q.       How many times did individuals come in to
10      the Coffee County elections office in 2021 to copy
11      ballots or copy voting equipment to your knowledge?
12           A.       Fifth Amendment.
13           Q.       How many times did they do it in 2020?
14           A.       Fifth Amendment.
15           Q.       Why'd you do it?
16           A.       Fifth Amendment.
17           Q.       You don't want to explain, you don't want
18      to defend what you did?
19           A.       Fifth Amendment.
20                    MR. DELK:       Object to the form.
21      BY MR. CROSS:
22           Q.       So you're just going to let everyone infer
23      that you committed a crime?
24           A.       Fifth Amendment.
25           Q.       Well, you're a true believer in the cause.

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1                     MR. DELK:       Object to the form.
2            Argumentative.           That's not even a
3            question.
4                     You don't have to respond.
5       BY MR. CROSS:
6            Q.       So you left the board on Friday, and
7       you're still working at your daddy's car
8       dealership; right?
9            A.       I haven't been in to work today, but I
10      assume I have a job when I get there.
11           Q.       Do you know whether anyone involved with
12      the events of copying voting equipment in January 7
13      of 2021, or January 8 or January 19, whether anyone
14      associated with the County received any payment or
15      anything of value?
16                    MR. DELK:       Object to the form.
17                    THE WITNESS:         Fifth Amendment.
18                    MR. DELK:       While you're -- I don't
19           want to interrupt your flow.
20                    MR. CROSS:        I'm almost done.
21                    MR. DELK:       If you're getting close to
22           transitioning, we can --
23                    MR. CROSS:        Yeah, I'm almost done.
24                    MR. DELK:       -- push through, but I'm
25           about at the point I need a break --

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1                     MR. CROSS:        Sure.
2                     MR. DELK:       -- for a few minutes at
3            least.
4                     MR. CROSS:        Sure.      Yeah, I think I
5            can finish up, and then we'll take a
6            break.
7                     MR. DELK:       Okay.
8                                     (Whereupon, Plaintiff's
9                                       Exhibit 11 was marked for
10                                      identification.)
11      BY MR. CROSS:
12           Q.       All right.        Let me hand you what's been
13      marked as Exhibit 11.              And just tell me if this is
14      something you've seen before.
15                    (Whereupon, the document was
16              reviewed by the witness.)
17                    THE WITNESS:         I don't recall seeing
18           this.
19      BY MR. CROSS:
20           Q.       So Exhibit 11 -- well, let me ask you
21      this.     When you served on the board -- let's make
22      it even simpler.
23                    Are you familiar with a federal agency
24      called C.I.S.A., C-I-S-A?
25           A.       No, sir.

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1            Q.       Cybersecurity and information -- I forget
2       the acronym.          Cybersecurity and information --
3       that's embarrassing, because I don't remember.                        I'm
4       going to have to look it up.                  I always just call it
5       C.I.S.A.       Get it right.
6                     Okay.     Cybersecurity and Infrastructure
7       Security Agency as part of D.H.S.                    Are you familiar
8       with them?
9            A.       I'm not.
10           Q.       When you served on the board of Coffee
11      County, what role does the board have with respect
12      to election security, if any?
13                    MR. DELK:       Object to the extent any
14           response he gives is him individually, not
15           speaking on behalf of the board.
16                    If I could just have a standing
17           objection, I'll try not to interrupt.
18                    MR. CROSS:        Sure.
19                    THE WITNESS:         Can you restate that?
20           I'm sorry.
21      BY MR. CROSS:
22           Q.       Yeah.     Based on your experience as a
23      member of the Coffee County election board, what's
24      your understanding of the board's role with respect
25      to election security?

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1            A.       Just to carry out elections in a secure
2       manner.
3            Q.       How so?
4            A.       The way we store equipment, you know, that
5       the voting machines are properly stored, locked,
6       the scanners, the -- all that stuff, all the
7       equipment is kept locked away.
8            Q.       And do you have an understanding that was
9       it important to keep the voting equipment, things
10      like B.M.D.s, poll pads, the E.M.S. server, locked?
11                    MR. DELK:       Object to the form.
12                    THE WITNESS:         We have done that.
13           That's how things typically transpire.
14      BY MR. CROSS:
15           Q.       And that was important for election
16      security?
17           A.       Yes.
18           Q.       Okay.     Did you at any point while you were
19      on the board learn -- well, strike that.
20                    Are you familiar with a -- with an
21      election security expert named Alex Halderman?
22           A.       No, I'm not.
23           Q.       Did you ever hear at any point while you
24      were on the board that an election security expert
25      had been given access by a federal judge to voting

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1       equipment from Fulton County, and he had analyzed
2       that equipment?
3            A.       I have not.
4            Q.       So you never heard that from the Secretary
5       of State's office?
6            A.       No, sir.
7            Q.       Never heard that, in July of last year,
8       Dr. Halderman prepared a hundred-page report
9       detailing numerous very serious vulnerabilities
10      with that equipment?
11           A.       I have not.
12           Q.       No one ever told --
13           A.       And --
14           Q.       Oh, go ahead.         I'm sorry.
15           A.       When you say "equipment," you're saying --
16           Q.       The Fulton County Dominion voting
17      equipment.
18           A.       Okay.     Specifically for Fulton County
19      or --
20           Q.       Yes.
21           A.       Okay.     I have not.
22           Q.       And specifically a B.M.D. that was
23      provided, a Dominion B.M.D.
24           A.       Yeah, I'm just trying to get a basis on
25      what you're --

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1            Q.       Sure.
2            A.       -- meaning to say.
3                     No, I have not.
4            Q.       And so I gather you also were not aware
5       that the judge allowed Dr. Halderman's report to go
6       to C.I.S.A. so that C.I.S.A. could do its own
7       assessment of the reliability of the Dominion
8       voting equipment?
9            A.       No, sir.
10           Q.       What you have in front of you as Exhibit
11      11 is an advisory that C.I.S.A. released in June of
12      this year after working with Dr. Halderman, his
13      co-author on the report, Dominion and potentially
14      others, analyzing the vulnerabilities he had found.
15      That's what you've got.
16                    And you're -- you've never seen this
17      before?
18           A.       I haven't.
19           Q.       And this, this wasn't something that the
20      Secretary's office provided the Coffee County
21      election board to your knowledge?
22                    MR. DELK:       Object to the form.
23                    THE WITNESS:         I'm not sure if they
24           provided it to other members or possibly
25           the supervisor, but I haven't personally

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1            seen it.
2       BY MR. CROSS:
3            Q.       As a member of the Coffee County election
4       board, would you expect the Secretary's office to
5       advise a -- the county election boards that a
6       federal agency had identified serious
7       vulnerabilities with the Dominion equipment you
8       were tasked with using?
9                     MR. DELK:       Object to the form.
10      BY MR. CROSS:
11           Q.       You'd expect them to let you know that;
12      right?
13           A.       I would.
14           Q.       If you look at the heading here, do you
15      see number one, Summary?
16           A.       I do.
17           Q.       It says:
18                    "This advisory identifies
19             vulnerabilities affecting versions of
20             the Dominion Voting Systems Democracy
21             Suite ImageCast X..."
22                    Do you see that?
23           A.       I do.
24           Q.       And the ImageCast X, that's the B.M.D.;
25      right?      You're aware of that?

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1             A.       I'm not.
2             Q.       Okay.      That's -- it goes on:
3                      "The ImageCast X can be configured
4              to allow a voter to produce a paper
5              record or to record votes
6              electronically."
7                      So we're talking about the B.M.D. here.
8       Are you with me?
9             A.       Okay.
10            Q.       And then if you come to the end of this
11      document, turn to the second-to-last page, do you
12      see there's a heading in bold, number three,
13      Mitigations at the bottom?
14            A.       Yes.
15            Q.       And here it reads:
16                     "C.I.S.A. recommends election
17             officials continue to take and further
18             enhance defensive measures to reduce
19             the risk of exploitation of these
20             vulnerabilities."
21                     Do you see that?
22            A.       I do.
23            Q.       "Specifically, for each election,
24             election officials should."
25                     And then you see there's about a dozen

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1       bullets that continue on to the top of the next
2       page?
3            A.       I do.
4            Q.       Are you aware of any communication by the
5       Secretary's office to the Coffee County election
6       board or anyone with responsibility for Coffee
7       County elections to ensure that any of these
8       mitigation measures were taken?
9            A.       I'm not personally aware.
10           Q.       Are you aware of any effort by Coffee
11      County to implement these mitigation measures?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         I'm not aware.
14      BY MR. CROSS:
15           Q.       And you're not aware that anybody ever
16      told anyone at Coffee County they needed to
17      implement these measures; right?
18           A.       I'm not personally aware, no, sir.
19           Q.       And as a member of the Coffee County
20      election board, if mitigation measures as serious
21      as those here were being implemented in the county,
22      you would expect to have received a report on that
23      as a member of the board; right?
24                    MR. DELK:       Object to the form.
25                    THE WITNESS:         Can you state that

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1            again?       I'm sorry.        I didn't follow you.
2       BY MR. CROSS:
3            Q.       Sure.
4                     One of the things we established earlier
5       is that the board met at least monthly?
6            A.       Right.
7            Q.       And in those board meetings, things that
8       were germane to the responsibility of the Coffee
9       County election board were discussed?
10           A.       Correct.
11           Q.       And so we've got here a federal advisory
12      that came out in June of this year encouraging
13      certain mitigation measures to be taken with
14      respect to the Dominion system used in the state of
15      Georgia.
16                    Are you with me?
17           A.       I am.
18           Q.       Okay.     So if there were efforts made to
19      implement these mitigation measures in Coffee
20      County, would you expect that to have been
21      communicated to you at a board meeting or in some
22      other fashion as a member of the board?
23                    MR. DELK:       Object to the form.
24                    THE WITNESS:         Well, it may have been
25           at some point, but I don't recall.

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1       BY MR. CROSS:
2            Q.       Okay.     Do you know the name Dominic, is it
3       LaRiccia, L-A-R-I-C-C-I-A?
4            A.       I do.
5            Q.       Who is that?
6            A.       He is I think still our current state
7       representative in this district.                    But I know -- I
8       don't think he's going to be the representative
9       next term.
10           Q.       All right.        Are you familiar with an
11      organization called Cyber Ninjas?
12           A.       I'm not.
13           Q.       Never heard of them?
14           A.       No, sir.
15           Q.       Not aware that they're associated with
16      Doug Logan?
17           A.       No, sir.
18           Q.       Are you familiar with someone named Shawn
19      Stills [sic]?
20           A.       No, sir.
21           Q.       Never heard that name?
22           A.       No.
23                    MR. CROSS:        All right.        Let's go off
24           the record.          Give me just one minute.               I
25           think I'm done.

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1                     MR. DELK:       Okay.
2                     THE VIDEOGRAPHER:            We're going off
3            the record at 1:26.
4                     (Whereupon, a discussion ensued
5              off the record.)
6                     (Whereupon, there was a brief
7              recess.)
8                     THE VIDEOGRAPHER:            We're going back
9            on the record at 1:46.
10      BY MR. CROSS:
11           Q.       All right.        Mr. Chaney, I'm almost done.
12      Just a few more questions for you.
13           A.       Okay.
14           Q.       Will you get Exhibit 10 again real quick?
15      It was the E-mail thread from Paul Maggio.
16           A.       Right.
17           Q.       One more question, if you look at the most
18      recent E-mail, January 28 of 2021, and you come
19      down to the last E-mail address in the C.C. line,
20      do you see it says                                                    ?
21           A.       I do.
22           Q.       Do you recognize that address?
23           A.       I do not.
24           Q.       Are you aware that that's an E-mail
25      address for Scott Hall?

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1            A.       I don't know.
2            Q.       You've never communicated with anyone at
3       that address?
4            A.       I have not.
5            Q.       Okay.     All right.         Let me hand you what's
6       being marked as Exhibit 12.
7                                     (Whereupon, Plaintiff's
8                                       Exhibit 12 was marked for
9                                       identification.)
10      BY MR. CROSS:
11           Q.       I'll give it to Mr. Delk first.
12                    (Whereupon, the document was
13             reviewed by the witness.)
14      BY MR. CROSS:
15           Q.       So this is a LinkedIn profile for Robert
16      A. Sinners, communications director in the
17      Secretary of State's office.                  Have you ever seen
18      this before?
19           A.       Not to my knowledge, no, sir.
20           Q.       Okay.     So if you look at the first page,
21      do you see that at the bottom it indicates, Georgia
22      Republican Party, D.J.T., state director, Election
23      Day operations, from May of 2020 to February 2021?
24                    Do you see that?
25           A.       I do.

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1            Q.       And you understand that D.J.T., that's
2       Donald Trump?
3                     MR. DELK:       Object to the form.
4                     THE WITNESS:         I'm not sure.
5       BY MR. CROSS:
6            Q.       Okay.     And so we can see here that,
7       according to Mr. Sinners' LinkedIn page, he worked
8       with the Georgia Republican Party here from May of
9       2020 to February 2021.
10                    Are you with me?
11           A.       Yes, sir.
12           Q.       And then we come up towards the top of
13      that, and it indicates in February of 2021, he
14      became an employee in the Secretary of State's
15      office as the director of constituent services.
16                    Do you see that?
17           A.       Where are we now?
18           Q.       Top of the first page.
19           A.       I don't --
20           Q.       It's up here.
21           A.       Okay.
22           Q.       Do you see it?
23           A.       Yes.
24           Q.       Were you aware before today that he was
25      the director of constituent services in the

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1       Secretary's office?
2            A.       No.
3            Q.       Do you know why it was in February of
4       2021, just shortly after Scott Hall and others
5       breached the election equipment in Coffee County,
6       why it was that Mr. Sinners was then hired in the
7       Secretary's office?
8                     MR. DELK:       Object to the form.
9                     THE WITNESS:         Fifth Amendment.
10      BY MR. CROSS:
11           Q.       And you see here he was promoted to
12      communications director in June of this year?
13           A.       I do.
14           Q.       And you never had any involvement with
15      Mr. Sinners as part of your work on the Coffee
16      County election board?
17           A.       Fifth Amendment.
18           Q.       Do you sometimes leave bottles of natural
19      light beer on Ms. Hampton's car, on her windshield?
20                    MR. DELK:       Object to the form.
21      BY MR. CROSS:
22           Q.       From time to time; right?
23           A.       Fifth Amendment.
24           Q.       Fifth Amendment of whether you left beer
25      on the car?

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1            A.       Fifth Amendment.
2            Q.       You mentioned before, we talked about this
3       briefly, I just want to make sure I understood,
4       that you looked at video evidence from surveillance
5       cameras in the election county office at Coffee
6       County before Ms. Hampton and Ms. Ridlehoover were
7       let go; right?
8            A.       That's correct.
9            Q.       Tell me everything that you know about the
10      surveillance system in that office.
11           A.       I'm not privy to the surveillance system
12      in that office.           I don't know.
13           Q.       Well, you've been in the office many
14      times?
15           A.       I have.
16           Q.       Where are the cameras?              Where have you
17      seen cameras?
18           A.       I don't know.         I never looked for cameras.
19           Q.       Well, when you looked at the video, what
20      was shown?        What portion of the office was visible
21      in the cameras?
22           A.       It was just one area that was focused on
23      that I seen the door, the coming and going of the
24      door.
25           Q.       What area?

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1            A.       The front of the -- towards the front
2       office.
3            Q.       The sort of that open foyer space where
4       there's a window and Ms. Ridlehoover would sit
5       behind that window?
6            A.       The door that comes in and out of, not the
7       lobby door, but the door that goes in and out of
8       the -- that separates the public from the private
9       area.
10           Q.       So when you come into the Coffee County
11      election office, you walk in and there's a room
12      with a glass window in front of you,
13      Ms. Ridlehoover would sit behind that window;
14      right?
15           A.       That's correct.
16           Q.       And then off to the left there's a door,
17      and that door goes in to where Ms. Ridlehoover and
18      Ms. Hampton would sit?
19           A.       Misty had a private office.                 Her office
20      was through the -- to the left even of that door.
21           Q.       Right.      So -- and that's fair.
22                    So to be more precise, the door to the
23      left of that window where Ms. Ridlehoover sat, when
24      you went through that door, you'd be into a room
25      where Ms. Ridlehoover's desk was to your right?

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1            A.       That's right.
2            Q.       Is that the door that you saw in the
3       video?
4            A.       Yes.
5            Q.       Did the video surveillance capture any
6       other portion of the office?
7            A.       Not that I recall.
8            Q.       And Ms. Hampton's office was to the left
9       when you came inside that door?
10           A.       That's correct.
11           Q.       And she had a -- she could lock her door?
12           A.       Yes.
13           Q.       And there were glass windows into her
14      door?
15           A.       That's right.
16           Q.       And before you went through the door into
17      Ms. Ridlehoover's space, to the left of that public
18      room, there was also a glass window that looked
19      into the gyms room; right?
20           A.       Correct.
21           Q.       And that -- that's -- the gyms room is
22      where the E.M.S. server and I.C.C. were kept?
23           A.       Yes.     Correct.
24           Q.       Including after the switch to the Dominion
25      system, Dominion and E.M.S. server sat in that same

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1       room?
2              A.       Correct.
3              Q.       So that was visible, that room was visible
4       to the public as long as the blinds were open?
5              A.       That's right.
6              Q.       And so the only camera that you're aware
7       of is the one that caught that door that went from
8       the public foyer into the space where
9       Ms. Ridlehoover sat?
10             A.       That I recall.
11             Q.       Okay.     No other cameras you can think of?
12             A.       No.
13             Q.       Was there any other door that provided
14      access to Ms. Hampton's office besides that one
15      door?
16             A.       No.
17             Q.       So if you wanted to get in to
18      Ms. Hampton's office, you'd have to come through
19      the front door of the building and then that door
20      that sat next to the window where Ms. Ridlehoover
21      sat?
22                      MR. DELK:       Object to the form.
23      BY MR. CROSS:
24             Q.       That was the only way to get to her
25      office?

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1              A.       That I'm aware of.
2              Q.       When you come in through the door to the
3       public space, there's also -- well, strike that.
4                       There's a -- there's a room to the right
5       of that building where the pub -- where the early
6       voting was done; right?
7              A.       That's correct.
8              Q.       And that room has its own door into the
9       parking lot?
10             A.       That's right.
11             Q.       And that room also has a door that goes
12      into the space where Ms. Ridlehoover sat; right?
13             A.       That's correct.
14             Q.       So if you wanted to get into Ms. Hampton's
15      office, you wouldn't have to go through the door
16      where the camera is, you could come through the
17      early voting space; right?
18             A.       There again, I'm not sure if you can or
19      not.        I'm not sure if that door that partitions off
20      those offices are kept locked or not.                        I'm not sure
21      of that.
22             Q.       Well, before you reached the conclusion
23      that the video camera captured all the time
24      Ms. Hampton was in the office, it was important to
25      figure out with whether there was another access

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1       point that was not on camera; right?
2            A.       I'm not sure.
3                     MR. CROSS:        All right.        I don't have
4            any further questions, Mr. Chaney.                      I
5            appreciate your time.
6                     THE WITNESS:         Thank you.
7                     MR. CROSS:        I think Mr. Brown may
8            have some questions.
9                     THE WITNESS:         Sure.
10                    MR. CROSS:        Bruce, you're up.
11                                   EXAMINATION
12      BY MR. BROWN:
13           Q.       Mr. Chaney, my name is Bruce Brown.                     I
14      represent the Coalition plaintiffs in this case.                            I
15      just have a couple of questions.
16                    MR. BROWN:        If you could hand the
17           witness Exhibit 8.
18                    MR. DELK:       Do you mind if I close out
19           this "got it" on the screen so I can see
20           you?
21                    MR. CROSS:        Go ahead.        Yeah.     Go
22           ahead.       Yeah.
23                    What's Exhibit 8, Bruce?
24                    MR. BROWN:        Exhibit 8 is the Jennifer
25           Herzog exchange.

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1                     MR. CROSS:        He's got it.
2       BY MR. BROWN:
3            Q.       Let me refer you to Exhibit 8, and
4       specifically your E-mail to Jennifer Herzog at the
5       bottom of the first page of Exhibit 8.
6                     Are you with me?
7            A.       I am.
8            Q.       You'll see that you say I don't know Scott
9       Hall.     Is that still your testimony today?
10           A.       Fifth Amendment.
11           Q.       And then you say in the next line:
12                    [As read]       "...nor was I present
13              at the Coffee County Board of
14              Elections and registration office when
15              anyone illegally accessed the server."
16           A.       Fifth Amendment.
17           Q.       If I change that to say when anyone
18      accessed the server, would that still be your
19      position, that you were not there when anyone
20      accessed the silver -- server, whether it was
21      illegal or not?
22                    MR. DELK:       Object to the form.
23                    THE WITNESS:         Fifth Amendment.
24      BY MR. BROWN:
25           Q.       Let me drop down to the bottom sentence in

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1       that paragraph.           You say:
2                     "I have no personal knowledge..."
3                     Do you see that?
4            A.       Yes.
5            Q.       Contrary to the lawyer's statement, do you
6       have any knowledge that anyone accessed the server
7       room?
8            A.       Fifth Amendment.
9                     MR. DELK:       Object to the form.
10      BY MR. BROWN:
11           Q.       I'm going to direct your attention back to
12      the lawsuit that was filed by Shawn Still.                            And I'm
13      going to see if I can do a screen share.
14                    MR. BROWN:        Debra, am I authorized to
15           do the screen share?
16                    MR. DELK:       What's he talking about
17           directing back?            I don't recall any
18           lawsuit that he just stated.
19                    MR. BROWN:        Do you see the --
20                    MR. DELK:       I want to make sure we're
21           on the same page.
22                    MR. BROWN:        I don't know if I'm
23           sharing the screen or not.                  Am I?
24                    MR. DELK:       No.
25                    THE WITNESS:          It doesn't appear so.

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1                     (Whereupon, a technical discussion
2              ensued off the record.)
3                     MR. BROWN:        Let me -- I'm going to
4            mark this as the next exhibit number,
5            which would be what?
6                     MR. DELK:       13.
7                     MR. CROSS:        13, yeah.
8                                     (Whereupon, Plaintiff's
9                                       Exhibit 13 was marked for
10                                      identification.)
11      BY MR. BROWN:
12           Q.       Exhibit 13 is a copy of the lawsuit filed
13      by Shawn Still against you and other members of the
14      board and Brad Raffensperger.
15                    Are you still not familiar with that
16      lawsuit?
17           A.       Sorry.      It doesn't ring a bell.
18           Q.       Did you have any communications with Shawn
19      Still before he filed this lawsuit that you recall?
20           A.       I don't even know who Shawn Still is.
21           Q.       Shawn Still is affiliated with Mr. Sinners
22      and Ms. Latham, and they're all so-called
23      alternative electors.
24                    Does that refresh your recollection?
25           A.       Fifth Amendment.

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1            Q.       Do you know if the facts relating to a
2       lawsuit that was to be filed against Coffee County
3       were shared with anybody relating to Coffee County
4       before they were -- before the lawsuit was filed?
5            A.       Fifth Amendment.
6                     MR. DELK:       Object to the form.
7       BY MR. BROWN:
8            Q.       Do you know anything about a friendly
9       lawsuit that was filed by Shawn Still against
10      Coffee County for the purpose of getting access to
11      Coffee County's election equipment in discovery?
12                    MR. DELK:       Object to the form.
13                    THE WITNESS:         Fifth Amendment.
14      BY MR. BROWN:
15           Q.       Do you recall any friendly lawsuit being
16      filed against Coffee County so that, as was the
17      case in Nevada, election equipment could be
18      obtained in discovery?
19           A.       Fifth Amendment.
20           Q.       Do you know why this lawsuit was dropped
21      the same day, January 7, that Brad [sic] Hall and
22      others made copies of the Coffee County election
23      equipment, making the lawsuit unnecessary?
24                    MR. DELK:       Object to the form.
25                    THE WITNESS:         Fifth Amendment.

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1       BY MR. BROWN:
2            Q.       Did you speak with Tony Rowell about this
3       lawsuit either before or after it was filed?
4                     MR. DELK:       Object to the form.
5            That's attorney-client privileged.
6       BY MR. BROWN:
7            Q.       To your recollection, did you speak to
8       anybody about a lawsuit in December and January
9       that was filed against you and the other members of
10      the board and Brad Raffensperger?
11                    MR. DELK:       Object to the form.             Vague
12           to the extent any such communications are
13           privileged.
14                    THE WITNESS:         Fifth Amendment.
15      BY MR. BROWN:
16           Q.       Do you know how Mr. Still got access to
17      the information that he put in the complaint if it
18      was not through some sort of back-door
19      communications with people at Coffee County?
20                    MR. DELK:       Object to the form.
21                    THE WITNESS:         Fifth Amendment.
22      BY MR. BROWN:
23           Q.       Did you talk with Cathy Latham about the
24      Shawn Still lawsuit?
25           A.       Fifth Amendment.

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1            Q.       Do you know who John Eastman is?
2            A.       I do not.
3            Q.       Did you talk to him about the copying of
4       the election equipment in Coffee County?
5            A.       Fifth Amendment.
6                     MR. BROWN:        I don't have any further
7            questions.
8                     (Whereupon, a technical discussion
9              ensued off the record.)
10                                   EXAMINATION
11      BY MR. PICO-PRATS:
12           Q.       Mr. Chaney, I just have a few more
13      questions, and then we'll be done for the day.
14           A.       Okay.
15           Q.       Do you know who the plaintiffs are in this
16      lawsuit that you're being deposed for?
17           A.       I do not.       Are you asking about know them
18      personally or --
19           Q.       If you just know them --
20           A.       I do not.
21           Q.       Okay.     Do you know who Donna Curling is?
22           A.       I've seen the name, but I don't know who
23      she is.
24           Q.       Do you know Donna Price?
25           A.       I don't.

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1            Q.       Do you know Jeffrey Stromberg?
2            A.       I do not.
3            Q.       Do you know the Coalition for Greater
4       Governance?
5            A.       I've seen that name.
6            Q.       What do you know about the Coalition?
7            A.       I think Marilyn Marks heads that up, if
8       I'm not mistaken.            And she is -- she did reach out
9       to me sometime way back, but I don't specifically
10      remember our dialogue.
11           Q.       When was the first time that Marilyn Marks
12      reached out to you?
13           A.       I think it was sometime in 2020.
14           Q.       Was it the front half of 2020?
15           A.       The -- probably around or before the
16      election in 2020.
17           Q.       The November --
18           A.       Yes.
19           Q.       -- election?
20                    Do you know generally what Marilyn Marks
21      was reaching out about?
22           A.       To be honest with you, I didn't appreciate
23      her -- she was annoying, and she wouldn't -- she'd
24      just call, call, call, call, E-mail, E-mail,
25      E-mail.       I didn't want to have any dialogue with

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1       her.
2              Q.       What was she calling about?
3              A.       I'm not exactly sure.
4              Q.       Did you ever actually speak with her or
5       was it only phone calls that were left unanswered?
6              A.       I think I did speak to her on the phone,
7       you know, answer a call that I wasn't sure who it
8       was.        And after speaking to her briefly and -- I
9       just didn't return calls or didn't reply to her
10      E-mails.
11             Q.       When was the last time that she reached
12      out to you?
13             A.       I'm not exactly sure.
14             Q.       Was it in this year?
15             A.       I'm not sure.
16             Q.       Did you ever speak to her about the
17      Dominion voting equipment?
18             A.       Not that I recall.
19             Q.       Did you ever speak to her about the
20      forensic examination?
21             A.       Not that I recall.
22                      MR. PICO-PRATS:          That's all the
23             questions I have for you.
24                      THE WITNESS:         Thank you.
25                      (Whereupon, a discussion ensued

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1               off the record.)
2                      THE VIDEOGRAPHER:                So we are going
3              off the record at 2:05 p.m.
4                      (Whereupon, a discussion ensued
5               off the record.)
6                      (Whereupon, the reading and
7               signing of the deposition by the
8               witness was reserved.)
9                                             - - -
10                     (Witness excused.)
11                                            - - -
12                     (Whereupon, the deposition
13              concluded at 2:10 p.m.)
14                                          --oOo--
15
16
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                                                                      Page 189

1                        VERITEXT LEGAL SOLUTIONS
2                    FIRM CERTIFICATE AND DISCLOSURE
3
4                Veritext represents that the foregoing
        transcript as produced by our Production
5       Coordinators, Georgia Certified Notaries, is a
        true, correct and complete transcript of the
6       colloquies, questions and answers as submitted by
        the certified court reporter in this case.
7
                 Veritext further represents that the
8       attached exhibits, if any, are a true, correct and
        complete copy as submitted by the certified
 9      reporter, attorneys or witness in this case;
10               And that the exhibits were handled and
        produced exclusively through our Production
11      Coordinators, Georgia Certified Notaries. Copies
        of notarized production certificates related to
12      this proceeding are available upon request to
        litsup-ga@veritext.com.
13
                 Veritext is not taking this deposition
14      under any relationship that is prohibited by OCGA
        15-14-37(a) and (b). Case-specific discounts are
15      automatically applied to all parties at such time
        as any party receives a discount. Ancillary
16      services such as calendar and financial reports are
        available to all parties upon request.
17
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1            R E P O R T E R              C E R T I F I C A T E
2       STATE OF GEORGIA )
        COBB COUNTY      )
3
4                I, Debra M. Druzisky, a Certified Court
        Reporter in and for the State of Georgia, do hereby
5       certify:
                 That prior to being examined, the witness
6       named in the foregoing deposition was by me duly
        sworn to testify to the truth, the whole truth, and
7       nothing but the truth;
                 That said deposition was taken before me
8       at the time and place set forth and was taken down
        by me in shorthand and thereafter reduced to
9       computerized transcription under my direction and
        supervision. And I hereby certify the foregoing
10      deposition is a full, true and correct transcript
        of my shorthand notes so taken.
11               Review of the transcript was requested.
        If requested, any changes made by the deponent and
12      provided to the reporter during the period allowed
        are appended hereto.
13               I further certify that I am not of kin or
        counsel to the parties in the case, and I am not in
14      the regular employ of counsel for any of the said
        parties, nor am I in any way financially interested
15      in the result of said case.
                 IN WITNESS WHEREOF, I have hereunto
16      subscribed my name this 18th day of August, 2022.
17
18
19
20                               ________________________________
                                  Debra M. Druzisky
21                                Georgia CCR-B-1848
22
23
24
25

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                                                                      Page 191

1       To: Mr. Delk
2       Re: ERIC B. CHANEY
3       Date Errata due back at our offices:                     _____________
4
5       Greetings:
6
7          This deposition has been requested for read and
        sign by the deponent. It is the deponent's
8       responsibility to review the transcript, noting any
        changes or corrections on the attached PDF Errata.
9       The deponent may fill out the Errata electronically
        or print and fill out manually.
10
           Once the Errata is signed by the deponent and
11      notarized, please mail it to the offices of
        Veritext (below).
12
           When the Errata is returned to us, we will seal
13      and forward to the taking attorney to file with the
        original transcript. We will also send copies of
14      the Errata to all ordering parties.
15         If the signed Errata is not returned by the
        above date, the original transcript may be filed
16      with the court without the signature of the
        deponent.
17
18      Please send completed Errata to:
19      Veritext Production Facility
20      20 Mansell Court, Suite 300
21      Roswell, Georgia 30076
22      (770) 343-9696
23
24
25

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                                                                      Page 192

1       ERRATA FOR ASSIGNMENT # 5317960
2           I, the undersigned, do hereby certify that I
        have read the transcript of my testimony, and that
3
4       _____ there are no changes noted; or
5       _____ the following changes are noted:
6
            Pursuant to Rule 30(7)(e) of the Federal Rules
7       of Civil Procedure and/or OCGA 9-11-30(e), any
        changes in form or substance which you desire to
8       make to your testimony shall be entered upon the
        deposition with a statement of the reasons given
9       for making them.
10          To assist you in making any such corrections,
        please use the form below.                If additional pages are
11      necessary, please furnish same and attach hereto.
12      Page_____Line_____Change:_                 ______________________
13      Reason for change:_________________________________
14      Page_____Line_____Change:_                 ______________________
15      Reason for change:_________________________________
16      Page_____Line_____Change:__                  _____________________
17      Reason for change:_________________________________
18      Page_____Line_____Change:__                  _____________________
19      Reason for change:_________________________________
20      Page_____Line_____Change:__                  _____________________
21      Reason for change:_________________________________
22      Page_____Line_____Change:___                  ____________________
23      Reason for change:_________________________________
24      Page_____Line_____Change:___                  ____________________
25      Reason for change:_________________________________

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1       Page_____Line_____Change:____                   ___________________
2       Reason for change:_________________________________
3       Page_____Line_____Change:_____                   __________________
4       Reason for change:_________________________________
5       Page_____Line_____Change:______                    _________________
6       Reason for change:_________________________________
7       Page_____Line_____Change:______                    _________________
8       Reason for change:_________________________________
9       Page_____Line_____Change:____                   ___________________
10      Reason for change:_________________________________
11      Page_____Line_____Change:_____                   __________________
12      Reason for change:_________________________________
13      Page_____Line_____Change:______                    _________________
14      Reason for change:_________________________________
15      Page_____Line_____Change:______                    _________________
16      Reason for change:_________________________________
17      Page_____Line_____Change:_______                    ________________
18      Reason for change:________________________________
19                                     _____________________________
                                       DEPONENT'S SIGNATURE
20
21      Sworn to and subscribed before me this _____ day of
22      _______________, 2022.
23      ___________________________
        NOTARY PUBLIC
24      My Commission Expires: ___________________________.
25       __________________________ Notary Public

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                                                                      Page 194

1             R E P O R T E R    D I S C L O S U R E
2       DISTRICT COURT   )    DEPOSITION OF
        NORTHERN DISTRICT)    ERIC B. CHANEY
3       ATLANTA DIVISION )
4
                 Pursuant to Article 10.B of the Rules and
5       Regulations of the Board of Court Reporting of the
        Judicial Council of Georgia, I make the following
6       disclosure:
                 I am a Georgia Certified Court Reporter.
7       I am here as a representative of Veritext Legal
        Solutions.
8                Veritext Legal Solutions was contacted by
        the offices of Morrison & Foerster to provide court
9       reporting services for this deposition. Veritext
        Legal Solutions will not be taking this deposition
10      under any contract that is prohibited by O.C.G.A.
        9-11-28 (c).
11               Veritext Legal Solutions has no contract
        or agreement to provide court reporting services
12      with any party to the case, or any reporter or
        reporting agency from whom a referral might have
13      been made to cover the deposition.
                 Veritext Legal Solutions will charge its
14      usual and customary rates to all parties in the
        case, and a financial discount will not be given to
15      any party in this litigation.
16
17
                                        Debra M. Druzisky
18                                      Georgia CCR-B-1848
19
20
21
22
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24
25

                                   Veritext Legal Solutions
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                               Georgia Code

                          Title 9, Chapter 11

                      Article 5, Section 9-11-30



     (e) Review by witness; changes; signing.

     If requested by the deponent or a party before

     completion of the deposition, the deponent shall

     have 30 days after being notified by the officer

     that the transcript or recording is available in

     which to review the transcript or recording and, if

     there are changes in form or substance, to sign a

     statement reciting such changes and the reasons

     given by the deponent for making them. The officer

     shall indicate in the certificate prescribed by

     paragraph (1) of subsection (f) of this Code

     section whether any review was requested and, if

     so, shall append any changes made by the deponent

     during the period allowed. If the deposition is not

     reviewed and signed by the witness within 30 days

     of its submission to him or her, the officer shall

     sign it and state on the record that the deposition

     was not reviewed and signed by the deponent within

     30 days. The deposition may then be used as fully

     as though signed unless, on a motion to suppress

     under paragraph (4) of subsection (d) of Code
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     Section 9-11-32, the court holds that the reasons

     given for the refusal to sign require rejection of

     the deposition in whole or in part.




     DISCLAIMER:      THE FOREGOING CIVIL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE STATE RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                VERITEXT LEGAL SOLUTIONS
      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
